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                NOT YET SCHEDULED FOR ORAL ARGUMENT
                 NO. 21-1018 (AND CONSOLIDATED CASES)


             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

       CENTER FOR BIOLOGICAL DIVERSITY, FRIENDS OF THE
                   EARTH, and SIERRA CLUB,

                                                 Petitioners,
                                      v.
          U.S. ENVIRONMENTAL PROTECTION AGENCY, et al.,
                                                 Respondents,

      AEROSPACE INDUSTRIES ASSOCIATION OF AMERICA, INC.,
                  and THE BOEING COMPANY.
                                                 Intervenors.


          On Petition for Review of Final Action by the United States
                       Environmental Protection Agency


            CORRECTED BRIEF OF AMICUS CURIAE
     INTERNATIONAL COUNCIL ON CLEAN TRANSPORTATION
    IN SUPPORT OF ENVIRONMENTAL AND STATE PETITIONERS

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          CERTIFICATE AS TO PARTIES, RULINGS, RELATED
                 CASES, AND SEPARATE BRIEFING

      All parties, intervenors and other amici appearing in this case are listed in

the State Petitioners’ Opening Brief.

      References to the ruling under review and related cases also appear in the

State Petitioners’ Opening Brief.

      Pursuant to D.C. Circuit Rule 29(d), amicus International Council on Clean

Transportation (“ICCT”) states that it is aware of one other planned amicus brief in

support of State and Environmental Petitioners in this case. Separate briefing is

necessary because none of the other amicus briefs can provide insight borne from

directly participating, for many years, in the International Civil Aviation

Organization processes and committee negotiations that created the aviation rule

which the U.S. Environmental Protection Agency then adopted. Based on more

than a decade of internationally recognized aviation research, ICCT can also

provide detailed, scientifically sound information about the technologically

feasible options available to EPA for regulating greenhouse gas emissions based

upon more than a decade of internationally recognized aviation research.




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                                GLOSSARY

 Aircraft Rule                          Control of Air Pollution From
                                        Airplanes and Airplane Engines: GHG
                                        Emission Standards and Test
                                        Procedures, 86 Fed. Reg. 2136 (Jan.
                                        11, 2021)

 CO2                                    Carbon dioxide

 Endangerment Finding                   Finding That Greenhouse Gas
                                        Emissions From Aircraft Cause or
                                        Contribute to Air Pollution That May
                                        Reasonably Be Anticipated To
                                        Endanger Public Health and Welfare,
                                        81 Fed. Reg. 54,422 (Aug. 15, 2016)

 EPA                                    U.S. Environmental Protection Agency

 FAA                                    Federal Aviation Administration

 GHG                                    Greenhouse Gas(es)

 ICCT                                   International Council on Clean
                                        Transportation

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 Section 231                            42 U.S.C. § 7571




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             IDENTITY AND INTEREST OF AMICIUS CURIAE

      The International Council on Clean Transportation (“ICCT”) is an

independent nonprofit organization that provides unbiased and internationally

recognized research and technical, and scientific analysis to environmental

regulators. ICCT staff includes scientific experts on the control of pollutants and

greenhouse gas emissions from the aviation sector. Staff members have authored

or coauthored more than 40 Working Papers and Information Papers related to the

design of the carbon dioxide (“CO2”) standard developed by the International Civil

Aviation Organization (“ICAO”) and adopted by the Environmental Protection

Agency (“EPA”). The program director for ICCT also has personally served as a

technical observer during ICAO proceedings since 2008.

      ICCT has a strong interest in ensuring that the Court’s decision in this case

furthers the development and use of sound, science-based policies in the aviation

industry. This amicus brief will assist the Court’s understanding of this matter by

discussing the nature of ICAO proceedings and demonstrating that economically

and technologically feasible options that can reduce greenhouse gas emissions

from aviation were and remain available to EPA.

                          RULE 29(a)(4) STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 29(a)(4), ICCT represents

that its counsel drafted this brief. No party or its counsel made a monetary



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contribution intended to fund the preparation or submission of this brief, and no

person other than amicus curiae or their counsel contributed money that was

intended to fund preparing or submitting this brief.

                                INTRODUCTION

      In 2016, EPA issued a finding under Section 231 of the Clean Air Act, 42

U.S.C. § 7571, recognizing that greenhouse gas emissions from the aviation sector

“endanger the public health and welfare of current and future generations.”

Control of Air Pollution From Airplanes and Airplane Engines: GHG Emission

Standards and Test Procedures, 81 Fed. Reg. 54,422 (Aug. 15, 2016)

(“Endangerment Finding”). That finding triggered additional legal obligations,

requiring EPA to take appropriate regulatory action to reduce emissions. This case

concerns EPA’s attempt to discharge these Section 231 duties by adopting a final

rule regulating greenhouse gas emissions from airplanes and aviation engines.

Finding That Greenhouse Gas Emissions From Aircraft Cause or Contribute to Air

Pollution That May Reasonably Be Anticipated To Endanger Public Health and

Welfare, 86 Fed. Reg. 2136 (Jan. 11, 2021) (“Aircraft Rule”).

      Unfortunately, the Aircraft Rule wholly misses the mark. By EPA’s own

admission and as demonstrated by independent technical analysis, the Aviation

Rule will not reduce the greenhouse gas pollutants identified in EPA’s

Endangerment Finding. Rather than crafting standards to address the concerns



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identified in its Endangerment Finding, EPA defaulted entirely to a narrow rule

developed by ICAO, an international agency. EPA’s rationale for doing so turns in

part on its interpretation of diplomatic harmony. As Petitioners explain in their

Opening Briefs, this concern is not tethered to Section 231’s statutory

requirements, and centering it in the rulemaking undermines the Clean Air Act’s

core purpose of protecting public health.

      As discussed below, EPA’s Aircraft Rule ignores cost-effective technologies

to reduce greenhouse gas emissions and abdicates the agency’s statutory duty to

develop standards that actually protect public health from a known pollutant.

ICAO has struggled to produce environmentally stringent regulations, in part due

to industry dominance of internal proceedings and a lack of public transparency

and accountability in the ICAO decision-making processes. EPA could and should

have done much better. A more protective emissions standard could have been set

without imposing unreasonable burdens on the aviation sector. Among a suite of

other options, EPA could have extended its rule to in-service aircraft, adopted

flexible means of compliance, or defined technological feasibility to better reflect

the realities of currently available emission-reducing technologies. This Court

should, therefore, grant the petitions for review and direct EPA to revise the rule to

comport with Clean Air Act mandates to protect public and environmental health.




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                                 BACKGROUND

I.    Aviation in the Context of Climate Change

      As the planet’s changing climate careens towards disaster, aircraft emissions

pose a significant and increasing share of global greenhouse gas emissions.

Intergovernmental Panel on Climate Change, Climate Change 2022, Impacts

Adaptation and Vulnerability, Summary for Policymakers 8, 13 (2022) (“IPCC

2022”); Sola Zheng & Dan Rutherford, Fuel burn of new commercial jet aircraft:

1960 to 2019 at 1 (2020), EPA-HQ-OAR-2018-0276-0151 (“Zheng 2020”);

Brandon Graver et al., CO2 emissions from commercial aviation, 2018 at 1-2

(2019), EPA-HQ-OAR-2018-0276-0151 (“Graver 2019”). These greenhouse gas

emissions cause or contribute to the increasing intensity and severity of droughts,

destructive storms, heatwaves, and flooding; the destabilization of agricultural

production; the increased likelihood of certain infectious diseases; the widespread

deterioration of ecosystems; and the acceleration of species extinction rates. IPCC

2022 at 8.

      The aviation industry is one of the fastest growing sources of greenhouse gas

emissions: Aviation emissions have increased by 44 percent over the last decade,

with air traffic growing about four times faster than improved fuel efficiency from

2013 to 2019. Zheng 2020 at 1; Graver 2019 at 1-2. If commercial aviation were

counted as a country, it would rank sixth, after Japan, in terms of total CO2



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emissions. Zheng 2020 at 1. And by 2050, commercial aircraft could consume

nearly a quarter of the carbon emissions budget that scientists say is necessary to

limit warming below the 1.5° C threshold and thereby avoid the worst climate

change impacts. Zheng 2020 at 1; Pidcock et al., Aviation could consume a

quarter of 1.5°C carbon budget by 2050 (2016), available at https://www.

carbonbrief.org/aviation-consume-quarter- carbon-budget.

       The United States is the world’s largest emitter of aviation greenhouse

gasses by a significant margin, with U.S aircraft alone emitting roughly a quarter

of the world’s total aviation carbon pollutants. Dan Rutherford, Standards to

promote airline fuel efficiency at 1 (2020), EPA-HQ-OAR-2018-0276-0151

(“Rutherford 2020”). To put that contribution in perspective, U.S. aircraft account

for roughly six times more aviation greenhouse gas emissions than the Chinese

aircraft fleet, the world’s next largest source of aviation emissions. 81 Fed. Reg. at

54,468.

II.   History of ICAO and the Chicago Convention

      The 1944 Convention on International Civil Aviation, also known as the

“Chicago Convention,” resulted in the creation of ICAO. The Chicago

Convention’s core objective was to develop civil aviation in a “safe and orderly

manner” such that the air transport industry would operate “soundly and

economically.” International Civil Aviation Organization, The History of ICAO



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and The Chicago Convention (last visited March 8, 2022), https://www.icao.int/

about-icao/History/Pages/default.aspx. ICAO is a multilateral, United Nations

agency designed to administer the Chicago Convention and to establish uniform

international standards and policy recommendations for the civil aviation industry.

International Civil Aviation Organization, About ICAO (last visited March 8,

2022), https://www.icao.int/about-icao/Pages/default.aspx (“About ICAO”).

ICAO’s Committee on Aviation Environmental Protection (“Committee”)

develops its greenhouse gas standards. Because ICAO has no enforcement

authority and all signatory nations retain jurisdiction over their domestic airspace,

ICAO standards must be translated into binding regulations by national

governments in order to take effect and “never supersede the primacy of national

regulatory requirements.” Id.

III.   Internal ICAO Dynamics and Procedures

       The vast majority of ICAO member nations are represented by their

respective domestic aviation or transportation industry. Email from William

Charmley, Director to U.S. EPA Office of Transportation and Air Quality

Assessment and Standards Division (Feb. 16, 2016, 8:35 AM), EPA-HQ-OAR-

2018-0276-0151 (“Charmley Email”). This fact has sparked concern that

regulatory capture influences ICAO’s ability to deliver environmentally protective

emissions limitations. Id. (noting EPA’s efforts to achieve consensus in a context



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in which “nearly every nation is represented by their transportation and/or aircraft

industry. Environmental protection is not a priority for these nations, growing

their airline industry and domestic manufacturing industry is the priority”); see

also Transport and Environment, ‘We can live with this’: How Airbus was allowed

to write its own climate rules (Jan. 27, 2018), Error! Hyperlink reference not valid.,

(“Transport and Environment”) (noting that emails between a European regulator

and companies involved in the ICAO process revealed that “heavy influence from

industry” led to a CO2 “standard that will do nothing to cut aircraft emissions”).

      Unlike EPA, neither ICAO nor its Committee has a mandate to protect

public health and welfare from the impacts of aircraft air pollution. Instead, ICAO

member nations and industry come to consensus on minimum standards and

practices that all member nations can meet. ICAO member nations are urged by

the Chicago Convention to seek the “highest practicable degree of uniformity in

regulations, standards, procedures and organization.” Chicago Convention on

International Civil Aviation, art. 37, Dec. 7, 1944, 15 U.N.T.S. 295 (9th ed. 2006,

ICAO Doc. 7300/9), EPA-HQ-OAR-2018-0276-0006. In practice, this approach

incentivizes industry representatives, who dominate the ICAO process, to press for

aircraft emissions standards that all nations can meet, rather than standards that

actually protect public health or welfare.




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      The ICAO Committee’s process for developing greenhouse gas emissions

standards is opaque by design. The invited participants and formal observers must

sign non-disclosure agreements, and there is no mechanism for public participation

or comment on the Committee process. Transport and Environment (explaining

that “[m]eetings of [the Committee] are not public, and it is forbidden to disclose

any documents. . . . those involved must sign a confidentiality agreement not to

share what is submitted or said.”). The final negotiation and voting process by

which Committee standards are ultimately adopted frequently remains invisible,

not only to the public, but also to the formal observers and invited participants.

This is so because when consensus cannot be reached in plenary, the Committee

chair calls what is known as a “members only” meeting to attempt to reach

consensus. Id. (explaining that “[w]hen the final decisions were made in the

February 2016 meeting, all observers were excluded and it was just the 24 states”).

A single member from each country’s delegation attends this closed meeting and

the final standard is negotiated and reported back to plenary. Id. The Committee

followed this approach when developing the aircraft CO2 emissions standards at

issue here. Id. As a result, negotiation of the final standard was invisible even to

observers bound by non-disclosure agreements.

IV.   Development of EPA’s Aircraft Rule

      EPA first took steps to regulate aviation greenhouse gas emissions by



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issuing an Advanced Notice of Proposed Rulemaking in 2008. See Regulating

Greenhouse Gas Emissions under the Clean Air Act, 73 Fed. Reg. 44,354 (July 30,

2008) (“2008 Notice”). The 2008 Notice identified a number of regulatory

approaches deemed effective at reducing emissions, including allowing flexibility

as to how airlines achieve compliance and regulating in-service aircraft.

Rutherford 2020 at 2-4; Brandon Graver & Dan Rutherford, U.S. Passenger Jets

under ICAO’s CO2 Standard, 2018-2038 at 5-7 (2018), EPA-HQ-OAR-2018-

0276-0151 (“Graver, Rutherford 2018”); Center for Biological Diversity et al.,

Comment Letter on Notice of Proposed Rulemaking (NPRM): Control of Air

Pollution From Airplanes and Airplane Engines, 6 (2020) EPA-HQ-OAR-2018-

0276 (“NGO Comments”). For example, the 2008 Notice discussed an emissions

“averaging, banking and trading” program that would allow manufacturers and

operators greater “flexibility in phasing-in and phasing out engine models.” 73

Fed. Reg. at 44,472; NGO Comment at 6. This policy tool can facilitate faster and

cost-effective emissions reductions. Graver, Rutherford 2018 at 6-7; Rutherford

2020 at 4; ICCT “Comment Letter on Notice of Proposed Rulemaking (NPRM) for

Control of Air Pollution From Airplanes and Airplane Engines,” 4 (2020), EPA-

HQ-OAR-2018-0276-0001 (“ICCT Comment”). Additionally, rather than

prescribe specific engine technologies, EPA discussed flexibility for regulated

parties and the attainment of goals through optimization of airline operations and



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aircraft structure. 73 Fed. Reg. at 44,470-71; NGO Comment at 6. Importantly,

because the Clean Air Act applies to all aircraft, EPA considered these regulatory

solutions not only for newly-built aircraft but also for in-service aircraft, which

would have enabled greater emissions reductions compared to the 2021 Aircraft

Rule. 73 Fed. Reg. at 44,472.

      But the domestic regulatory process stalled while ICAO worked to craft an

international CO2 standard – a delay that ultimately led to EPA’s abandonment of

the promising and flexible regulatory tools it discussed in 2008 in favor of

conformity with a weak and rigid international standard. EPA did not issue its

formal Endangerment Finding until 2016. That finding, which concluded that

greenhouse gas emissions from aviation endanger public health and welfare,

triggered statutory requirements under Section 231 to promulgate a rule regulating

these dangerous emissions. 81 Fed. Reg. 54,422; 42 U.S.C § 7571(a)(2). The

following year, in 2017, ICAO formalized its standard. 86 Fed. Reg. 2137. Then,

four years later, EPA merely adopted the ICAO standard in all respects, with no

attempt to develop independent standards consistent with its legal obligations

under the Clean Air Act. 86 Fed. Reg. at 2139. It did so despite the fact that EPA

itself was “not projecting emission reductions associated with these [greenhouse

gas] regulations.” 86 Fed. Reg. at 2139.




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        The Aircraft Rule’s failure to reduce greenhouse gas emissions is due in part

to the fact that it does not regulate aircraft that are currently in use. The rule also

does not affect in-production aircraft until 2028 – 12 years after ICAO adopted its

standards. Id. at 2138, 2151.1 The contours of the Aircraft Rule are summarized

in the table below.

            Table 1: Summary of 2021 Final Aircraft Rule Applicability

     Aircraft              Date Rule
      Type     Applicable Takes Effect Aircraft Definition
                                       Aircraft designs which have never been
                                       manufactured before:
    New-Type                 2021      2023 for certain small new-types.
     Aircraft    Yes         2023      2021 for all other new-types.
       In-
    Production                         Aircraft that are manufactured after the
     Aircraft    Yes         2028      date of the rule.
    In-Service
     Aircraft     No                   Aircraft currently in use.
     Military                          Aircraft used by the military, outside of
     Aircraft     No                   civilian, commercial contexts.
    Supersonic                         Aircraft capable of traveling faster than
     Aircraft     No                   the speed of sound.


1
  Modifications to in-production aircraft that increase greenhouse gas emissions
will trigger a requirement to meet the in-production standard five years early,
beginning in 2023. 86 Fed. Reg. at 2138. However, in an exception that
undermines the rule, parties may implement modifications without satisfying the
standard, as long as the modification does not increase emissions by more than 1.5
percent. Id. at 2151. And there is no limit imposed on how many such
modifications a party may make. Id. Thus, for the next six years, an airline can
make serial modifications to its in-production aircraft that amount to significant
emissions increases and still not trigger any requirements under the rule.


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                                  ARGUMENT

I.    EPA Should Not Rely on the ICAO Process to Determine Domestic
      Policy for Aviation Greenhouse Gas Emissions.

      A.    ICAO’s Adoption Process and Substantive Mandate Differ
            Dramatically from EPA’s.

      EPA cannot rely on ICAO to craft its emission regulations, in part because

the agency is bound by statutory mandates to protect domestic public health and

welfare – mandates that ICAO simply need not and does not address. External

observers and internal participants have raised serious concerns that the ICAO is

deeply industry captured. For example, a recent investigative report indicates the

Airbus corporation was so powerful within ICAO proceedings that it was allowed

to directly redline and otherwise heavily dictate the European Union’s final

negotiating position on the stringency of ICAO’s CO2 rule, the same ineffective

rule that EPA has now adopted here. Transport and Environment (explaining that

“[e]mails released to Transport & Environment after an 18 month-long appeal

process have confirmed that when crafting CO2 rules for aircraft, the European

Commission – the regulator – gave Airbus – the regulated entity – privileged

access to the EU decision-making process and allowed Airbus to determine the EU

position. The result is a standard which does nothing for the climate or public

health.”); see also The Economist, Some international regulators have been

captured by producer interests (Nov. 24, 2018), available at https://www.



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economist.com/leaders/2018/11/24/some-international-regulators-have-been-

captured-by-producer-interests (concluding that the ICAO process “is a lesson

straight from undergraduate economics. Do not give the regulated power over the

regulators, unless you want consumers to lose out and producers to game the

system.”).

      ICAO’s inability to craft environmentally protective regulations raises

serious concerns about EPA’s piggybacking approach. See Ruwantissa Abeyratne,

Aviation and Climate Change, In Search of a Global Market Based Measure 98

(2014) (stating that “ICAO has been talking about dealing with carbon pollution

from airplanes for 16 years, but doing nothing. The agency can’t just keep playing

its old game of promising climate action—next time—and then failing to

deliver.”); Transport and Environment (noting that ICAO’s CO2 standard “is not an

isolated case but part of a pattern.”). ICAO simply does not have the same kind of

substantive mandate or science-based decision process that necessarily animates

EPA rulemaking.

      The divergent mandates of EPA and ICAO have also resulted in important

procedural differences in what passes for appropriate decision-making. Bound by

a notice and comment rulemaking process under the Clean Air Act, EPA’s analysis

is intended to be transparent and motivated by applicable science. ICAO’s process

is ultimately driven by diplomatic consensus and industry preference. That process



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remains opaque to virtually everyone outside of participating member states and

formal observers – who are themselves required to agree to strict non-disclosure

agreements. Transport and Environment (explaining that “the above story was

only possible because of how ICAO operates: behind closed doors and with no

public or democratic scrutiny.”). This guarded Committee process is

unaccountable to public input and unresponsive to the dangers posed by unchecked

greenhouse gas emissions. Unsurprisingly, it led to a standard that required no

changes on the part of the aviation industry and resulted in no reduction of

greenhouse gas emissions.

      B.     The United States May Set More Stringent Domestic Aviation
             Standards and Has Done So in the Recent Past.

      Article 38 of the Chicago Convention explicitly authorizes the United States

to adopt domestic standards that are more protective than those that ICAO applies

globally. Under the Convention, the U.S. retains sovereignty over both domestic

and foreign aircraft operating in U.S. airspace and is fully empowered to adopt

stricter “regulations or practices differing in any particular respect” from those

established by ICAO. Chicago Convention, art. 38, chap. 2-3. Under Article 38,

the United States need only give notice to other member nations of its intent to

pursue more stringent standards. Id. As EPA itself has acknowledged, “it is

expected that States will adopt their own airworthiness standards, and it is

anticipated that some States may adopt standards that are more stringent than those

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agreed upon by the ICAO.” Control of Air Pollution from Aircraft and Aircraft

Engines; Emission Standards and Test Procedures, 70 Fed. Reg. 69,644, 69,667

(Nov. 17, 2005).

      In keeping with this regime, the United States has previously adopted

aviation standards that are more stringent than ICAO’s, including for in-service

aircraft. For instance, in 2001, the United States adopted a stricter rule to phase-

out noisy aircraft than ICAO had established, specifically to address the concerns

of U.S residents living in close proximity to airports. U.S. General Accounting

Office, GAO-01-1053, Aviation and the Environment: Transition to Quieter

Aircraft Occurred as Planned, but Concerns about Noise Persist (2001),

https://www.gao.gov/assets/240/232737.pdf (“USGAO 2001”); 49 U.S.C. §

47528(a); International Civil Aviation Organization, GIACC/3-IP/1, Agenda Item

2: Review of aviation emissions related activities within ICAO and internationally

Parallels between Noise and CO2 Environmental Goals ¶ 2.2 (2009) (“ICAO

Noise Rule”). This rule, which estimated compliance costs ranging from $2.1 to

$4.6 billion at the time of its adoption, was nevertheless defended by the United

States as necessary to protect airport-adjacent citizens while permitting continued

increases in airport capacity. 49 U.S.C § 47521; see also USGAO 2001 at 9, 11.

The stricter rule moved up the date by which non-compliant aircraft were to be

removed from service. ICAO Noise Rule at ¶ 2.2 (setting deadline that is 15



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months after deadline set out in the United States’ Aircraft Noise and Capacity Act

of 1990.)

      EPA also acknowledged its freedom to deviate from ICAO standards during

a 2005 rulemaking on nitrogen oxide emissions and in its 2016 Endangerment

Finding regarding aviation GHG emissions. 70 Fed. Reg. at 69,676 (stating that

“more stringent standards” than ICAO called for “would likely be necessary and

appropriate in the future”); 81 Fed. Reg. at 54,471 (noting EPA’s intent to adopt

standards of “at least equivalent stringency to the international CO2 standard” and

acknowledging that options above this baseline were permissible). 2

      While cooperation with ICAO is obviously important, it cannot and should

not come at the expense of compliance with domestic law. Under Clean Air Act

Section 231, EPA must consider harm to public health and welfare from emissions,

as well as the technological feasibility, cost, and safety of systems available to

reduce that harm. 42 U.S.C § 7571(a). By deviating from other ICAO standards,

EPA has implicitly recognized that “uniformity” is neither an adequate nor a


2
 Other member States have likewise deviated from ICAO standards. Paul
Dempsey, Compliance and Enforcement in International Law: Achieving Global
Uniformity in Aviation Safety, 30 N.C. J. Int’l L. 1, 17 n.65 (2004) (explaining that
“[a]s of 2000, 55 states had notified ICAO of the differences between their
domestic law and Annex 1”). A review of the differences filed pursuant to Article
38 “reveals that most deal with differences in terminology or involve more
stringent practices.” Mark Peterson, The UAV and the Current and Future
Regulatory Construct for Integration Into the National Airspace System, 71 J. Air
L. & Com. 521, 559 n.197 (2006).


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lawful basis for adopting an ineffective standard. And by its unquestioning

adherence to the ICAO standard in the name of uniformity, EPA ultimately failed

to regulate a dangerous pollutant.

II.   EPA’s Aircraft Rule Will Not Reduce Aviation Greenhouse Gas
      Emissions.

      A.     By the Time EPA’s Standards Take Effect, Virtually All Aircraft
             Will Satisfy or Supersede Them.

      EPA’s Aircraft Rule fails to reduce aviation GHG emissions because all

passenger aircraft will already meet or exceed the rule’s standards by the time they

take full effect. Graver, Rutherford 2018 at 1, 3-4, 7; 86 Fed. Reg. at 2138. EPA

has acknowledged this outcome as true, conceding that it “anticipates nearly all

affected airplanes to be compliant by the respective effective dates for new type

designs and for in-production airplanes.” 86 Fed. Reg. at 2138.

      Independent ICCT analysis of global aircraft performance confirms EPA’s

conclusion. Zheng 2020 at 1; Graver, Rutherford 2018 at 7. In 2016, the average

newly delivered aircraft was already more fuel efficient than the 2028 in-

production standard. Zheng 2020 at 14-15. And ICCT analysis of the ten largest

airline companies in the United States shows that, on average, the domestic fleet as

a whole is expected to achieve compliance with the 2028 standard by 2024.

Graver, Rutherford 2018 at 4. These global and domestic statistics illustrate that

the Aircraft Rule does not promote additional emissions reductions beyond the



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industry status quo. ICCT Comment at 1, 3; Graver, Rutherford 2018 at 7;

Rutherford 2020 at 1; Zheng 2020 at 14.

      The rule’s ineffectiveness is caused in part by the unreasonably limited

definition of technological feasibility that ICAO’s Committee used during its

standard setting process. The Committee interprets technological feasibility to

refer only to airframe and engine technologies that have already reached

commercial maturity for a variety of aircraft types at the time a standard is set –

essentially defining as feasible only what has already been built and is in use.3

ICCT Comment at 2. In this instance, although the rule does not take full effect

until 2028, the Committee defined technological feasibility to exclude even new

aircraft and engine technologies set to be delivered as early as 2016. ICCT

Comment at 2. For this reason, no additional improvements are required to comply

with the rule and “even independent of the ICAO standards, nearly all airplanes

produced by U.S manufacturers will meet the ICAO in-production standards in

2028.” 86 Fed. Reg. at 2139.



3
  The Committee uses Technology Readiness Levels, a scale of technology
maturity developed by the National Aeronautics and Space Administration.
Technologies are graded on a scale ranging from TRL 1, basic research begun, to
TRL 9, flight proven in a commercial environment. The ICAO Committee defines
technological feasibility as technologies having already achieved a TRL 8 of 9,
flight qualified in an actual aircraft in 2016. This definition excludes new
technologies that would be shortly introduced into new, more fuel-efficient aircraft
from being used to establish standard stringency.


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      By contrast, the Clean Air Act authorizes EPA to craft technology-forcing

standards in order to achieve the aviation emission reductions necessary to protect

public health. 42 U.S.C § 7571; 70 Fed. Reg. at 69,676; Control of Air Pollution

from Aircraft and Aircraft Engines: Emission Standards and Test Procedures for

Aircraft, 38 Fed. Reg. 19,088, 19,089 (July 17, 1973). This mandate allows –

indeed, requires – EPA to consider technology not yet widely utilized but

reasonably attainable given due consideration to costs and lead time. 38 Fed. Reg.

at 19,089. In adopting ICAO’s rule without modification, EPA defaulted to a

definition of feasibility that requires virtually no technological innovation from the

aircraft industry to achieve compliance. 86 Fed. Reg. at 2138-39. It is thus not

surprising that there are no “project[ed] emissions reductions associated with these

GHG regulations” and that emissions will instead continue to intensify in the

coming decades. Id. at 2139; see also Zheng 2020 at 1.

      B.     EPA’s Own Analysis Shows That a More Stringent CO2 Standard
             Than It Ultimately Adopted Was Both Technically Feasible And
             Economically Beneficial.

      EPA’s Cost-Benefit Analysis, as completed with the Federal Aviation

Administration (“FAA”) and submitted to ICAO’s environmental committee,

concluded that a more stringent CO2 standard than the final Aircraft Rule was both

technically feasible and economically beneficial. United States, United States-

Only Cost-Benefit Analysis (CBA) of the International Civil Aviation Organization



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(ICAO) CO2 Standard Stringency Options (SOs), Tenth Meeting of Committee on

Aviation Environmental Protection, Montreal, 3-4 (Feb. 1-12, 2016).4 EPA and

FAA calculated the climate, air quality, and net cost-benefit of ICAO’s ten

potential stringency options for both a new-type and in-production CO2 standard

for U.S. aviation beginning in 2020 and 2023, respectively. Id. Stringency Option

1 was the weakest option considered, and Stringency Option 10 the strongest. 5 Id.

EPA concluded that – of these ICAO stringency options it considered – climate

and air quality benefits were maximized at Stringency Option 10 for new types and

Stringency Option 9 for in-production aircraft. Id. (noting that Stringency Option

10 for new types and 8 for in-production aircraft provided the largest net benefits

after taking compliance costs into account). Following a closed-door negotiation,

ICAO finalized its standard at the weaker levels of Stringency Option 8.5 for new

types and 7 for in-production aircraft, along with delaying in-production

requirements for five years to 2028. Thus, in harmonizing to ICAO’s

recommended standard, EPA disregarded its own analysis supporting more



4
 Because this document, which was obtained from EPA through a Freedom of
Information Act request, does not appear to be available on any public website,
ICCT attaches it to this brief for the Court’s convenience.
5
  EPA could have and should have considered stringency options beyond level 10
in its rulemaking, but this 2016 Cost-Benefit Analysis was restricted to the weaker
stringency options the ICAO was considering, based on ICAO’s highly limited
technological feasibility criteria.


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stringent domestic requirements.

      EPA has the authority and ability to implement emissions regulations that

are both economically and technologically feasible and that effectively address

pollutants identified as a threat to human health and well-being. EPA could have

done any of the following to meaningfully reduce greenhouse gas emissions, with

minimal burden on industry: 1) apply the rule to in-service aircraft; 2) strengthen

the requirements for both new-type and in-production aircraft; and 3) allow airlines

and manufacturers to use a declining fleetwide average standard and other more

flexible means of compliance.

      These options, presented in more detail below, were highlighted in

stakeholder comments to the proposed Aircraft Rule. ICCT Comment at 2; NGO

Comments at 24, 26-27. And a series of these options – including applying the

Aircraft Rule to in-service aircraft, using flexible means of compliance, and

adopting stronger new-type standards – were explored by EPA itself in its 2008

Advance Notice of Proposed Rulemaking before the agency abandoned its

independent analysis in deference to an industry-captured and unaccountable

international body. 73 Fed. Reg. at 44,470-72.

             1.    Applying EPA’s Standard to In-Service Aircraft Could
                   Have Reduced Emissions While Placing Minimal Demands
                   on Industry.




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      The Aircraft Rule should be applied to in-service aircraft. Applying EPA’s

in-production standard to aircraft that are already in-service would incentivize

retrofit or renewal of U.S. fleets and the retirement of disproportionately inefficient

older aircraft. Rutherford 2020 at 2-4; Graver, Rutherford 2018 at 5-7; Zheng

2020 at 17; ICCT Comment at 3-4.

      EPA could set an in-service aircraft standard in such a way as to minimize

disruptions to airline fleet planning while still providing an incentive to improve

fuel efficiency over time. In the hypothetical case where EPA applied its proposed

2028 standard to current airline fleets, nine of the ten major carriers and all

regional carriers – which accounted for 99 percent of 2017 aviation demand –

would either meet the standard or comply after small fuel efficiency improvements

of two percent or less. Graver, Rutherford 2018 at 7. Only a single U.S carrier,

Allegiant, which specializes in the use of older, used aircraft on minor routes,

would require larger efficiency improvements, of about six percent, to meet this

proposed standard. Graver, Rutherford 2018 at 7. Additionally, accelerating the

retirement of older models could stimulate demand for more fuel-efficient aircraft

technology from U.S. airframe and engine manufacturers. ICCT Comment at 4.

Ultimately, by extending the standard to in-service aircraft, EPA could have made

quantifiable progress to reduce aviation GHGs with minimal burden on the

aviation industry.



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             2.     EPA’s Standards for New-Type and In-Production Aircraft
                    Should Be Strengthened to Incentivize Technological
                    Innovation and Reduce GHGs.

      Applying meaningful efficiency requirements to new aircraft designs is

critical to achieving long-term aviation emissions reductions that protect the

climate and public health. ICCT Comment at 3. EPA should strengthen the

standard for new-type aircraft, giving adequate lead time to airlines to facilitate

greater GHG reductions. Because commercial development and deployment of

fuel efficiency-related technology takes time, parties must be informed of new

efficiency requirements far enough in advance that the investment, development,

and incorporation of new technologies is feasible. ICCT Comment at 3. By

setting such a weak new-type standard, and by applying it immediately when the

standard was finalized in January 2021, EPA gave no lead-time to allow the new-

type standard to reduce emissions.

      EPA’s standard for new-type aircraft could be strengthened by formulating

more effective definitions of technological feasibility and, when necessary,

increasing lead time associated with implementing the standard so cost-effective

technologies can be pursued. ICCT Comment at 3. Incentivizing cost-effective

technologies by tightening new-type aircraft standards would accelerate the low

rate – historically one percent per year – of emissions reductions from aircraft

efficiency improvements: A comprehensive assessment of aircraft technologies



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conducted in 2016 found that CO2 emissions from U.S. aircraft could be reduced

six percent by 2030 and 30 percent by 2050 through the deployment of cost-

effective technologies for new-type aircraft. 6 Zheng 2020 at iii; Anastasia Kharina

et al., Cost assessment of near and mid-term technologies to improve new aircraft

fuel efficiency, 28, 35 (2016), EPA-HQ-OAR-2018-0276-0151 (“Kharina et al.

2016.”).

         Stronger standards for in-production aircraft would also incentivize

innovations to reduce emissions. As previously discussed, ICAO’s definition of

technological feasibility included only those technologies that were widely

commercially available as of 2016 and excluded technologies set to be integrated

into concrete aircraft projects shortly thereafter. As a result, new commercial jets

delivered in 2019 were, on average, already six percent more fuel efficient than

required by the 2028 in-production standard, and advanced new aircraft entering

into service in recent years exceeded the standard by 15 to 25 percent. Zheng 2020

at 15.

         EPA could have instead looked to new technologies to avoid an in-

production standard that upholds the polluting status quo. In a 2015 report for

6
  Notably, these significant estimates are conservative and potential reductions
could be even greater. Kharina et al. 2016 at 9 (noting that “technologies that
require larger changes in aircraft design and architecture . . . were excluded. As a
consequence, the potential fuel burn reductions for 2034 scenarios assessed in this
study can be considered somewhat conservative.” )


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EPA covering 70 new technologies, the consultancy ICF concluded that

incremental improvements could reduce the fuel burn of new in-production aircraft

by 10 to 13 percent in 2033 compared to products available in 2015. ICF

International, Cost Analysis of CO2-Reducing Technologies for Aircraft at 13

(2015), EPA-HQ-OAR-2014-0828. A detailed analysis likewise concluded that

ten discrete technologies could reduce the fuel burn of Single Aisle Aircraft by

seven percent by 2028, which is when EPA’s in-production standard takes full

effect. Id. at 17. EPA should have taken this evidence into account when

promulgating its rule and issued a more stringent standard to incentivize the uptake

of these technologies.

      Far from a burden or a sacrifice, the deployment of cost-effective fuel

efficiency technologies also brings a variety of concrete social, economic and

environmental benefits. Kharina et al. 2016 at 28. Airlines could reduce their fuel

spending by 19 percent between 2025 and 2050 compared to business-as-usual

trends. Id. at 35. If passed along to the consumer, these savings could lower ticket

prices by up to $20 for short-haul flights and $105 for long-haul flights. Id. By

2050, consumption of total jet fuel could be cut by more than 20 percent, saving

approximately $285 billion (2015 dollars) in fuel costs. Id. at 30. In sum, closing

the cost-effective technology gap could provide “significant benefits to airlines,

consumers, and the environment.” Id. at 35. This undermines EPA’s claims that a



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more stringent US domestic standard would put domestic manufacturers at a

competitive disadvantage relative to foreign competitors.

              3.      EPA Should Allow Manufacturers and Airlines to Use a
                      Declining Fleetwide-Average Standard Instead of a
                      Pass/Fail Standard to Allow for More Cost-Effective
                      Compliance and Greater Emissions Reductions.

       The pass/fail standard used by EPA in its final rule is not a cost-effective

way to reduce emissions. Graver, Rutherford 2018 at 7; Zheng 2020 at 17;

Rutherford 2020 at 4. Standards that instead incorporate greater flexibility in how

airlines are permitted to comply support more ambitious timeframes for emissions

reductions and reduce compliance costs. Graver, Rutherford 2018 at 7; Rutherford

2020 at 4.

       The pass/fail standard does not allow the sale or operation of individual

aircraft types if they cannot comply with set emissions limits by a certain date.

Graver, Rutherford 2018 at 7; Rutherford 2020 at 4; ICCT Comment at 4. Pass/fail

standards incentivize policymakers to set standards based on the practices of the

worst aircraft types or fleet so as to not require the blanket disqualification of a

large number of aircraft. Zheng 2020 at 17; ICCT Comment at 4. This approach

is problematic because it leads standards to be set based upon the performance of

older aircraft designs, not modern technologies that are integrated into recently

certified aircraft.




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      By contrast, flexible standards such as the declining fleetwide average allow

a party to meet a slowly tightening emissions limit, on average, across its entire

product line or in-service fleet. Graver, Rutherford 2018 at 6-7; Rutherford 2020

at 4; ICCT Comment at 4. This creates a less static standard that allows parties to

meet emissions requirements through a wide series of measures not limited to

individual aircraft performance. Graver, Rutherford 2018 at 6-7; Rutherford 2020

at 4. These measures include reducing operating aircraft weight or making

operational changes to in-service aircraft. Rutherford 2020 at 4; NGO Comments

at 25-27; Center for Clean Air Policy and Northeast States for Coordinated Air Use

Management, Controlling Airport Related Pollution at III-7-11 (2003) (“CCAP

Report”). Operational changes in particular include a wide variety of tools that

industry can leverage to reduce emissions across a fleet. Rutherford 2020 at 4;

CCAP Report at III-7-11; NGO Comm. at 25-27. Examples of operational

changes include:

         ●   Using single-engine taxiing;
         ●   Optimizing flight timetables, route networks and flight frequency to
             reduce unnecessary stopovers and fuel-inefficient routing;
         ●   Optimizing Air Traffic Control operations;
         ●   Minimizing engine idling time on runways;
         ●   Reducing engine thrust and reverse during take-off;
         ●   Reducing the amount of excess fuel carried;
         ●   Reducing auxiliary power units;


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          ●   Retiring the least efficient aircraft within a fleet; and
          ●   More regular maintenance of engine and airframes to correct minor
              deteriorations.
      Declining fleetwide average standards can either allow manufacturers or

airlines to meet the emissions standard on average across all aircraft they deliver or

operate in a year, known as averaging, or over a larger period of time, known as

banking. Graver, Rutherford 2018 at 6-7; Rutherford 2020 at 4; ICCT Comment at

4. Either approach would reduce greenhouse gas emissions more than EPA’s

current pass/fail standard. Graver, Rutherford 2018 at 6-7; Rutherford 2020 at 4;

Zheng 2020 at 17; ICCT Comment at 4. For new aircraft, an analysis of the

current margin of manufacturer overcompliance with the ICAO rule found that a

standard allowing averaging of aircraft types produced by the same manufacturers

could be five percent more stringent than the pass/fail standard EPA is proposing.

ICCT Comment at Appendix 3. A standard allowing manufacturers to bank credits

from highly-efficient designs to comply with future, more stringent targets could

be reasonably be set at eight percent higher than a pass/fail standard. Id. at

Appendix 4.

      Notably, use of a declining fleetwide average for in-service aircraft with

averaging and banking also better accounts for existing efficiency differences

between main U.S carriers. Trading of overcompliance credits helps address the

problem of the least capable and largest emitting U.S airline – in this case


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Allegiant – by allowing it to continue to use its older aircraft if it compensates by

paying more efficient airlines that are overperforming the standard. Graver,

Rutherford 2018 at 6, fn. 5. Additionally, given the relatively long useful life of

aircraft, the banking of early overcompliance credits for future use as standards

tighten is rational behavior in the airline context. Id. EPA itself considered the

banking and trading approach in its original 2008 proposal on aircraft greenhouse

gas regulation. 73 Fed. Reg. at 44,472-73.

      Finally, a flexible approach for in-service aircraft could better incentivize

aircraft to improve their efficiency by becoming more lightweight, a practice that is

currently disincentivized because EPA bases emissions targets, in part, on an

aircraft’s weight. ICCT Comment at 5; 86 Fed. Reg. at 2145. As a general rule,

lighter weight classes have more stringent emissions caps. ICCT Comment at 4-5.

As a result, design changes that improve fuel efficiency by decreasing weight, such

as altering seating density, use of lightweight materials, or changing lower-deck

cargo transport practices, remain under-incentivized and under-rewarded. ICCT

Comments at 5; see also 86 Fed. Reg. at 2145. This result is problematic because

structural improvements alone, like the use of more lightweight materials, account

for about 20 percent of the assessed technologies that could be implemented to

improve fuel efficiency through 2034. Kharina et al. 2016 at 25, Figure 6.




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                                 CONCLUSION

      The United States is by far the world’s largest aviation carbon polluter.

Technologically and economically feasible options to reduce aviation emissions

are readily available. The Court should remand the Aircraft Rule to EPA for

reconsideration and proper discharge of the agency’s statutory duties under the

Clean Air Act.

Dated: March 21, 2022                 Respectfully submitted,

                                      ENVIRONMENTAL LAW CLINIC
                                      Mills Legal Clinic at Stanford Law School


                                      By:     /s/ Deborah A. Sivas
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7
  Stanford Law Student Alana R. Reynolds contributed significantly to this brief
through research and drafting.

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                          CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing brief is printed in 14-point font and

contains 6,494 words exclusive of the certificate as to parties, rulings, related

cases, and separate briefing; table of contents; table of authorities; signature lines;

biographical appendix; and certificates of service and compliance.

                         CERTIFICATE OF SERVICE

    I hereby certify that, on May 5, 2022, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the District

of Columbia Circuit using the appellate CM/ECF system, which served a copy of

the document on all counsel of record in the case.

                                                 Deborah A. Sivas
                                                 Deborah A. Sivas




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                   ATTACHMENT
  COMMITTEE ON AVIATION ENVIRONMENTAL PROTECTION
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                                                                                          CAEP/10-IP/23
                                                                                          15/12/15
                                                                                          English only




   COMMITTEE ON AVIATION ENVIRONMENTAL PROTECTION (CAEP)
                                          TENTH MEETING

                              Montréal, Canada, 1 to 12 February 2016


Agenda Item 5: CO2 Standard development

               UNITED STATES-ONLY COST-BENEFIT ANALYSIS (CBA) OF THE
                 INTERNATIONAL CIVIL AVIATION ORGANIZATION (ICAO)
                       CO2 STANDARD STRINGENCY OPTIONS (SOs)

                                    (Presented by the United States)

                                              SUMMARY
              Given previous CAEP recognition of the need to consider the
              interdependencies of noise, fuel burn, and emissions, the United States has
              conducted a cost-benefit analysis, as it had done previously for CAEP/8 and
              CAEP/9. This paper provides final CBA results of the CO2 standard with
              respect to United States-only emissions, with explicit consideration of
              interdependencies and uncertainties among environmental impacts. The
              analysis informed United States’ views and decision-making in regards to a
              CO2 standard. This paper is designed to supplement CAEP/10-IP/24.



1. INTRODUCTION

1.1             This paper presents results from an environmental benefit analysis conducted by the
United States to assess the interdependent impacts associated with the CO2 standard stringency options
(SOs) under consideration by the Committee on Aviation Environmental Protection (CAEP) with respect
to United States-only emissions and costs. The results of this benefit analysis are then compared to the
results of the cost analysis contained in the Modelling and Databases Group (MDG)/Forecasting and
Economic Analysis Support Group (FESG) CAEP/10 CO2 main Cost-Effectiveness Analysis (CAEP/10-
WP/16 and CAEP/10-IP/6) to create a cost-benefit analysis (CBA). Additional details from this analysis
are provided in Appendix A of this paper. CAEP/10-IP/24 details additional analysis assessing the
impacts of the CO2 standard SOs with respect to global emissions and costs. Details from both of these
analyses were used to inform United States’ views on the CO2 SOs.

1.2             This paper is a presentation of results supplemental to those in CAEP/10-IP/24 and is
intended for standalone use only. As such, this paper and its appendix not only presents full results from
the United States-only CBA, but also provides background information regarding tools, processes, and
inputs only when they differ from those in the global CBA.

(44 pages)
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1.3              The two significant differences between the United States and global CBA
methodologies are: (1) the use of two different models for calculating air quality impacts1 and (2) FESG-
calculated total costs for the United States-only analysis include only recurring Direct Operating Costs
(DOC) while total costs for the global analysis also include Asset Value Loss (AVL), and Non-Recurring
Manufacturer Technology Response Costs (NRC). Therefore, all CBA results presented in this paper are
based on landing and take-off (LTO) -only air quality results. For additional details on these differences,
see Appendix A, Section ‎2. As all remaining background information in CAEP/10-IP/24, Section 2
(“Background”) applies equally to this paper, a background section is not included.

1.4               The analyses performed to date do not reflect any final conclusion or prejudge the
methodology of any future analysis by any department or agency of the United States regarding the
benefits, costs, or other impacts of any aviation sector regulation to reduce greenhouse gas (GHG) and/or
non-GHG emissions. Any such future analyses, including any regulatory impact analyses conducted to
support federal regulatory actions, may differ from the analyses developed in support of this Information
Paper and will be consistent with the United States regulating‎ agency’s‎ statutory‎ authority‎ and‎ the‎
Executive Orders, including the United States Government methodology for valuing the social cost of
carbon, that prescribe the requirements of agency regulatory impact analyses.


2. EXECUTIVE SUMMARY OF RESULTS

2.1                   High Level Overview

2.1.1            The CBA demonstrates that most scenarios yield economic and environmental benefits
compared to a no-policy baseline, with exceptions for Case1 SO1-SO2 and Case4c SO2 (see Figure 1 and
Table 1-Table 3). For each framework case analyzed, climate benefits relative to the baseline always
increase as the standard becomes more stringent. For most scenarios, FESG-calculated total costs show a
positive cost savings relative to the baseline. While the remaining scenarios, Case1 SO1-SO2 and Case4c
SO2, show costs slightly higher than those in the baseline scenario, this cost increase is no greater than
~$1.2 billion (in 2010 United States dollars (USD)) for any scenario (see Figure 1 and Table 1-Table 3).
Due to the variability in NOX performance of individual aircraft available in the fleet for each scenario,
air quality impacts do not always increase with increasing SO. No United States-only scenarios were
analyzed with respect to noise (see CAEP/10-IP/24, Section 2.3.2).

2.1.2            For all scenarios analyzed, the savings due to FESG-calculated total cost savings for a
specific scenario are larger than the climate or air quality benefits. In contrast to the global analysis, the
United States-only analysis shows climate benefits always greater than air quality benefits for a given
scenario.

2.1.3            For this summary of results, climate benefits are defined as the benefits due to the
reduction in aviation-attributable climate impacts. Total environmental benefits are defined as the benefits
due to changes in climate and air quality impacts. Net cost-benefit is defined as the sum of total
environmental benefits and FESG-calculated total cost savings.


1
    These two models are detailed in Appendix A, Section ‎2.1 and CAEP/10-IP/24, Appendix A, Section 2.1.2. One key difference
    between the types of outputs produced by these models is that the United States-only model calculates impacts only for landing-
    and-takeoff (LTO) emissions while the global model captures impacts for both LTO and full flight emissions.




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2.1.4          All results presented in this paper assume a midrange lens and 3% discount rate for
environmental benefits and a 0% discount rate for total cost savings unless otherwise noted.

2.1.5             All results presented in this paper are highly dependent on the choice of model inputs and
the fidelity of the modeling at each step. Changes in the input assumptions, including the manner in which
specific aircraft types respond to various SOs, could have a significant impact on overall cost-benefit
results. Fleet modeling processes and assumptions are detailed in CAEP/10-WP/16 and CAEP/10-IP/6.

2.2                Scenarios Providing Maximum Benefit

2.2.1           Maximum Climate Benefit: Due to the global nature of climate impacts, climate benefits
are calculated as global savings from a reduction in United States-only emissions. Since the earliest In-
Production (INP) applicability date is 2023, Hybrid 2023 C4SO10-C1SO9 (New Type (NT) SO10/INP
SO9) provides the largest climate change benefit relative to the baseline, at ~$9 billion (in 2010 USD).
Although an INP applicability date of 2020 is not under consideration, Case1 2020 SO9 was modeled and
shows a slightly greater climate benefit relative to the baseline, still at ~$9 billion (in 2010 USD). This
data is shown in Figure 3 and Table 4-Table 6. Hybrid 2023 C4CSO10-C1SO9 (NT SO10/INP SO9)
provides the largest climate benefit relative to the baseline in the global analysis (see CAEP/10-IP/24,
Section 3.2.1).

2.2.2             Maximum Total Environmental Benefit: Since the earliest INP applicability date is 2023,
Hybrid 2023 C4SO10-C1SO9 (NT SO10/INP SO9) provides the largest environmental benefit relative to
the baseline, at ~$11 billion (in 2010 USD). Although an INP applicability date of 2020 is not under
consideration, Case1 2020 SO9 was modeled and shows a slightly greater total environmental benefit
relative to the baseline, still at ~$11 billion (in 2010 USD). This data is shown in Figure 2 and Table 4-
Table 6. Hybrid 2023 C4CSO10-C1SO5 (NT SO10/INP SO5) provides the largest total environmental
benefit relative to the baseline in the global analysis (see CAEP/10-IP/24, Section 3.2.2; as discussed in
that section the maximum benefit is achieved at this SO rather than at a higher SO due to the sensitivity of
the air quality results to the underlying assumptions).

2.2.3           Maximum Net Cost-Benefit: Hybrid 2023 C4CSO10-C1SO8 (NT SO10/INP SO8)
provides the maximum net cost-benefit relative to the baseline, at ~$60 billion (in 2010 USD). The next
NT SO level achieves maximum benefits at Hybrid 2023 C4CSO9-C1SO8 (NT SO9/INP SO8), at ~$51
billion (in 2010 USD). This data is shown in Figure 1 and Table 1-Table 3. Hybrid 2023 C4CSO10-
C1SO8 (NT SO10/INP SO8) provides the maximum net cost-benefit relative to the baseline in the global
analysis (see CAEP/10-IP/24, Section 3.2.3).

2.3                Impact of Applicability, SO, and Scope on Cost Benefit

2.3.1              Impact of Standard Applicability

2.3.1.1          A Case1 framework case yields more benefits than a Case4c framework case for the same
SO and implementation year for all SOs analyzed. This is due to the fact that the Case1 framework case
applies to both NT and INP while the Case4c framework case applies to only NT.

2.3.1.2          A Hybrid framework case with a given NT implementation year yields greater benefits
than a Case4c framework case with the same implementation year for corresponding SOs. This is because
the Hybrid framework case impacts INP as well as NT, adding benefits from INP applicability to the
existing benefits from NT implementation. A Hybrid framework case with a given INP implementation




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year also yields greater benefits than a Case1 framework case with the same implementation year for
corresponding SOs. This is because the Hybrid framework case impacts the NT aircraft at an earlier
implementation date than INP, effectively implementing a portion of the Case1 framework case at an
earlier date than in the Case1-only framework case. For the same NT and INP SO, a Hybrid framework
case yields benefits between those of Case1 for the NT implementation year and Case1 for the INP
implementation year at the same SO. This is because the Hybrid is essentially implementing the NT
portion of the framework case early relative to the later Case1 implementation (leading to an increase in
benefits relative to Case1) and implementing the INP portion of the framework case late relative to the
earlier Case1 implementation (leading to a reduction in benefits relative to Case1). For instance, Hybrid
2023 NT SO9/INP SO9 (with NT implementation in 2020 and INP implementation in 2023) yields benefits
above those for Case4c 2020 SO9 and between those for Case1 2020 SO9 and Case1 2023 SO9.

2.3.1.3          For the SOs for which both Case1 and Case4c were analyzed for the 2020
implementation year (SO2-SO9), the net benefits of a given SO for Case4c were, on average over all
SOs, ~$17 billion (in 2010 USD) lower than for Case1. For the SOs for which both a standalone and a
hybrid framework case were analyzed, the net benefits of the Hybrid 2023 framework case (with NT
implementation in 2020) relative to the Case4c 2020 framework case (considering all hybrid scenarios
that included a given NT SO) were, on average over all SOs, ~$13 billion higher (in 2010 USD). The net
benefits of the Hybrid 2023 framework case relative to the Case1 2023 framework case were, on average
over all SOs, ~$17 billion higher (in 2010 USD).

2.3.2              Impact of Increasing SO

2.3.2.1          Case1: The net cost-benefit for Case1 shows generally greater benefits as SO is
increased, with the exception that Case1 SO4 shows a lower benefit than SO3 (see Figure 1 and Table 1).
The most beneficial SO (SO9) has a net benefit ~$52 billion (in 2010 USD) greater than the least
beneficial (SO1) for a 2020 implementation year and ~$37 billion greater for the 2023 implementation
year.

2.3.2.2         Case4c: Case4c shows increasing benefits with increasing SO for all SOs. A full CBA
was only conducted for Case4c for the 2020 implementation year. The difference in benefits between the
most beneficial SO analyzed (SO10) and the least beneficial SO analyzed (SO2) was ~$34 billion (in
2010 USD).

2.3.2.3          Hybrid: The CBA trends for the hybrid framework cases follow a combination of Case1
and Case4c trends for almost all SO combinations, with generally increasing benefits for each increase in
NT (Case4c) SO given a fixed INP (Case1) SO and generally increasing benefits with increasing INP SO
for a fixed NT SO. Exceptions lie in the trends in the results for fixed NT SO6, SO7, SO9, and SO10 for
Hybrid 2023 and 2025 and in the results for fixed INP SO3 for Hybrid 2023 (see Figure 1 and Table 3).
For both Hybrid 2023 and Hybrid 2025, INP SO6 is less beneficial than INP SO5 for NT SO6 and SO7
(due to the sensitivity of NOX emissions changes to specific aircraft responses to SOs), and INP SO9 is
less beneficial than INP SO8 for NT SO9 and SO10 (due to the assumption that some INP aircraft
voluntarily respond to NT SO (SO9 or SO10) prior to INP SO implementation). For Hybrid 2023, INP
SO4 is more beneficial than INP SO3 for NT SO10, and NT SO4 is less beneficial than NT SO3 for INP
SO3. The difference in benefits between the most beneficial SO (NT SO10/INP SO8) and the least
beneficial SO (NT SO4/INP SO4) was ~$51 billion (in 2010 USD) for Hybrid 2023 and ~$47 billion for
Hybrid 2025.




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2.3.3            Impact of Implementation Year: Given the fixed policy-impact time frame
(implementation year through 2040), a later implementation year always results in reduced savings for a
given SO relative to the baseline. For the three-year delay in Case1 implementation from 2020 to 2023,
the net benefits for a given SO were reduced, on average over all SOs, by ~$7 billion (in 2010 USD). For
the two-year delay in implementation of the INP component of the Hybrid cases from 2023 to 2025, the
net benefits of a given SO were reduced, on average over all SOs, by ~$3 billion (in 2010 USD). A
complete CBA for Case4c was only conducted for a single implementation year (2020), so a similar
comparison could not be made for Case4c.

2.3.4            Monetized Climate Benefits Using United States Government (USG) Social Cost of
Carbon (SCC) Method: The USG SCC method was used to calculate the benefits resulting from reduced
CO2 emissions due to the scenarios under consideration. The trends between the climate benefits of
different scenarios as calculated with the SCC values are the same as the trends using APMT-I. The
results from the APMT-I Climate Model using a midrange lens and 3% discount rate closely match those
from the 2.5% discount rate SCC analysis, with these APMT-I Climate results ~$0.1 billion greater than
these SCC values, on average over all SOs.


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   UNITED STATES-ONLY COST-BENEFIT ANALYSIS (CBA) OF CAEP/10 CO2 STRINGENCY OPTIONS
                                        (SOS)

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1. INTRODUCTION

This appendix provides an overview of the results of a cost-benefit analysis (CBA) for the CAEP/10 CO2
stringency options (SOs) that examines United States-only emissions and costs. For a description of the
terms and acronyms used in this paper, see CAEP/10-IP/24, Appendix A, Section 1.2.


2. BACKGROUND

With the exception of the use of a different air quality model, all tools for the United States-only
environmental impacts analysis are identical to those used in the global analysis. For this United States-
only analysis, the climate model generates results for global impacts from United States-only emissions
and the air quality model calculates United States-only impacts from United States-only emissions. At a
high level the effects modeled by the two air quality models (United States-only and global) are the same.
A description of the United States-only air quality model follows.

One additional difference between the global and United States-only CBA methodology lies in the types of
costs captured in the Forecast and Economic Analysis Support Group (FESG)-calculated total costs. For
this United States-only analysis, these total costs include only recurring Direct Operating Cost (DOC),
which consists of fuel cost, capital cost (finance and depreciation costs), and other DOC (crew,
maintenance, landing, and route costs).

For a complete background on methods, model inputs and uncertainty, and the framework cases under
analysis, see CAEP/10-IP/24, Appendix A, Sections 2, 3, and 4.

2.1                United States-Only Air Quality Model

The United States-only Air Quality Model within the Aviation Environmental Portfolio Management Tool
– Impacts (APMT-Impacts),‎ RSM‎ v3,‎ estimates‎ the‎ health‎ impacts‎of ‎ particulate‎m atter‎ less‎t han‎ 2.5‎ μm‎ in‎
aerodynamic diameter (PM2.5). The model captures both primary PM2.5 (emitted directly from aircraft
engines, mostly consisting of soot) and secondary PM2.5 (aerosols formed in the atmosphere from SO2,
NOx, and gaseous hydrocarbon emissions). Aircraft emissions within the landing-and-takeoff (LTO) cycle
are modeled. Ozone-related health impacts are not considered here since they are estimated to be roughly
10% of PM-related impacts by studies within the APMT-I development effort,1 analysis conducted in
support of the Energy Policy Act of 2005 study,2,3 and external studies such as the Clean Air for Europe
Baseline Analysis.4 RSM v3 quantifies PM-related health impacts in terms of incidences of premature
mortality and their associated Value of Statistical Life (VSL).

Other United States Agencies, such as the United States Environmental Protection Agency (EPA), has its
own guidance for quantifying and monetizing premature mortality that differs from that used by DOT. For
the quantification of mortality incidence in the United States, EPA guidance, reviewed by its Science
Advisory Board and used in the Regulatory Impact Analyses of its National Ambient Air Quality
Standards, recommends a range of values based on functions derived from the American Cancer Society
cohort and the Harvard Six-Cities study.5,6 Furthermore, other United States Agencies, including EPA, also
have their own guidance for mortality risk valuation that differs from that used by DOT. EPA’s‎ guidance,‎
reviewed by its independent Science Advisory Board, recommends a central VSL of $9.7 million (in 2013
United States dollars (USD)).7 This is the same value EPA used in its Benefits and Costs of the Clean Air
Act, adjusted for inflation and income growth over time, and is applied uniformly to all averted deaths




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associated with a policy regardless of age, income or other individual characteristics. One important
difference between the EPA and DOT measures is that EPA utilizes values culled from the stated
preference literature whereas the DOT results do not. The assumptions used in this analysis to quantify and
monetize the benefits of premature mortality do not reflect final conclusions or prejudge the methodology
or results of any future analysis by any department or agency of the United States regarding the impacts of
PM and other non-GHG emissions. Any such future analyses, including any regulatory impact analyses
conducted to support federal regulatory actions, may differ from the analysis presented in this information
paper.

RSM v3 accounts for changes in future year anthropogenic emissions and their impact on aviation-
attributable PM2.5 mortalities. The global air quality model, in contrast, does not model changes in
background emissions over time (see CAEP/10-IP/24, Appendix A, Section 2.1.2). Changes in future year
anthropogenic emissions result in more significant aviation emissions impacts in future years.8,9 Rojo,1
Masek,10 and Brunelle-Yeung11 provide information on previous versions of the APMT-I Air Quality
Model, while the most complete description of the current methodology is described in Ashok.8

Limitations of RSM v3 include a restricted scope of geographic coverage (United States-only) and
consideration of health impacts from only LTO emissions. As such, the inputs to the United States-only
model are also LTO-only emissions. Additionally, since the tool is based on an aviation emissions
inventory from 2006, it does not account for changes in the spatial distribution of emissions relative to that
year. The contribution of cruise emissions to surface air quality impacts is considered in the global tool as
recent work shows that aircraft cruise emissions may cause degradation of air quality over a hemispheric
scale.12,13 The benefits in this category (Air Quality) are likely to be underestimated due to the fact that
only PM2.5 is quantified and monetized here and other effects such as ozone emissions are not examined.

Like the global air quality model, the United States-only model does not include lenses. The United States-
only model does, however, include uncertainty in modeling, emissions, and CRF. The distributions used in
the model are detailed in Ashok.14 Although RSM v3 is capable of providing monetary valuations as well
as health impacts, this analysis instead applied a VSL consistent with that used in the global analysis (see
CAEP/10-IP/24, Appendix A, Section 4.4) to the mortalities output from the model.


3. HIGH-LEVEL RESULTS

This section contains the United States-only CBA results, with limited explanations of those results. Since
the United States-only air quality model calculates impacts only for LTO emissions, all analysis presented
in based on LTO air quality results. For additional background on the results and plots included here, see
CAEP/10-IP/24, Appendix A, Section 5.

3.1                Net Cost-Benefit Analysis Results

Figure 1 shows the CBA for Case1 2020, Case1 2023, Case4c 2020, Hybrid 2023, and Hybrid 2025. The
length of each bar represents the sum of the total cost savings, mean climate benefits, and mean air quality
benefits for each SO, and the error bars represent the sum of the 10th and 90th percentile climate and air
quality benefits. Uncertainty in total cost savings is not included.




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                                                                                  Better




   Figure 1: Summary of Net Cost-Benefit for All Scenarios Relative to Baseline Using Midrange
    Environmental Lens, 3% Environmental Discount Rate, and 0% Total Cost Discount Rate

Figure 1 shows a net benefit for almost all SOs relative to the baseline under the 3% environmental
discount rate, midrange environmental lens, and 0% total cost discount rate. Case1 benefits are maximized
at SO9 with a benefit of between $35 and $55 billion 2010 USD depending on the implementation year.
The benefits for Case1 generally improve as the standard becomes more stringent, with the exception of
SO4 having lower benefits than SO3. These Case1 trends are driven by which aircraft are forced out of the
fleet and which aircraft have a technology response as the standard becomes more stringent. Case4c




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benefits improve with each SO increase, with SO10 becoming the most cost beneficial SO for a Case4c
framework case. Hybrid cases loosely follow a combination of the trends from the Case1 and Case4c CBA;
however, Case1 SO9 and SO6 can be less beneficial and SO4 can be more beneficial than the next less
stringent scenario when combined with certain Case4c SOs. Additionally, C4CSO4-C1SO3 is less
beneficial than C4CSO3-C1SO3 for Hybrid 2023. The greatest hybrid benefit occurs at C4CSO10-C1SO8.
The Case1 and Case4c United States-only CBA results follow generally the same trends as the results for
the global LTO CBA, with the exception that Case1 SO9 is more cost-beneficial than SO8 for the United
States-only case but not for the global case. The Hybrid United States-only CBA results follow generally
the same trends as the results for the global LTO CBA, with exceptions in the trends for fixed Case4c SO6
and SO7 between Case1 SO5-SO6 for both Hybrid 2023 and Hybrid 2025, and for fixed Case4c SO10
between Case1 SO3-SO4 and for fixed Case1 SO3 between Case4c SO3-SO4 for Hybrid 2023.

Table 1, Table 2, and Table 3 show the environmental impacts and total cost savings leading to the net cost
or benefit of a SO for all scenarios for which full environmental benefits (climate and air quality) and total
costs are available. The data in the tables corresponds to that presented in Figure 1. Environmental benefits
are given for a midrange lens at a 3% discount rate. Total cost savings are calculated using a 0% discount
rate.

   Table 1: Summary of Mean Costs and Benefits for Case1 Relative to Baseline Using Midrange
    Environmental Lens, 3% Environmental Discount Rate, and 0% Total Cost Discount Rate

                               Total Cost                                   Air Quality           Net Cost-Benefit
      Case         SO                              Climate Benefits
                                Savings            (2010 U.S. $Billion)      Benefits            Relative to Baseline
                            (2010 U.S. $Billion)                          (2010 U.S. $Billion)     (2010 U.S. $Billion)
                   SO1            -1.16                   0.02                   0.01                    -1.13
                   SO2            -0.78                   0.08                   0.02                    -0.69
                   SO3            11.92                   1.85                   0.23                    14.00
                   SO4            10.80                   2.00                   0.04                    12.84
     Case1
                   SO5            17.57                   3.16                   0.43                    21.16
     2020
                   SO6            21.26                   4.26                   0.53                    26.05
                   SO7            30.87                   5.44                   0.72                    37.02
                   SO8            40.62                   6.28                   0.87                    47.77
                   SO9            39.74                   8.94                   2.10                    50.78
                   SO1            -1.13                   0.02                   0.00                    -1.11
                   SO2            -0.83                   0.06                   0.01                    -0.76
                   SO3             7.81                   1.37                   0.16                     9.35
                   SO4             6.64                   1.46                   0.03                     8.13
     Case1
                   SO5            11.70                   2.36                   0.31                    14.36
     2023
                   SO6            14.04                   3.16                   0.37                    17.58
                   SO7            21.36                   4.09                   0.51                    25.96
                   SO8            28.43                   4.79                   0.63                    33.85
                   SO9            27.52                   7.00                   1.55                    36.06




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   Table 2: Summary of Mean Costs and Benefits for Case4c Relative to Baseline Using Midrange
     Environmental Lens, 3% Environmental Discount Rate, and 0% Total Cost Discount Rate

                                     Total Cost                                           Air Quality               Net Cost-Benefit
     Case            SO                                      Climate Benefits
                                      Savings                (2010 U.S. $Billion)          Benefits                Relative to Baseline
                                  (2010 U.S. $Billion)                                  (2010 U.S. $Billion)         (2010 U.S. $Billion)
                     SO2                -0.86                       0.06                       0.01                        -0.79
                     SO3                 0.65                       0.23                       0.04                         0.92
                     SO4                 1.28                       0.33                       0.05                         1.67
                     SO5                 2.83                       0.66                       0.09                         3.57
     Case4c
                     SO6                 6.53                       1.31                       0.17                         8.00
      2020
                     SO7                10.52                       2.04                       0.27                        12.83
                     SO8                13.45                       2.67                       0.34                        16.46
                     SO9                22.96                       4.15                       0.51                        27.62
                     SO10               28.03                       4.98                       0.57                        33.58


    Table 3: Summary of Mean Costs and Benefits for Hybrid Cases Relative to Baseline Using
Midrange Environmental Lens, 3% Environmental Discount Rate, and 0% Total Cost Discount Rate

                     SO                  Total Cost                                           Air Quality              Net Cost-Benefit
  Case                                                          Climate Benefits
                                          Savings                (2010 U.S. $Billion)          Benefits               Relative to Baseline
              Case4c      Case1       (2010 U.S. $Billion)                                  (2010 U.S. $Billion)         (2010 U.S. $Billion)
               SO3         SO3               9.48                       1.49                       0.19                        11.16
                           SO3               8.79                       1.59                       0.20                        10.58
               SO4
                           SO4               7.06                       1.59                       0.05                         8.70
                           SO3              11.63                       1.91                       0.24                        13.79
               SO5         SO4              10.11                       1.95                       0.10                        12.16
                           SO5              13.75                       2.54                       0.35                        16.65
                           SO3              13.71                       2.54                       0.32                        16.57
                           SO4              12.58                       2.61                       0.18                        15.37
               SO6
                           SO5              17.72                       3.25                       0.45                        21.42
                           SO6              16.88                       3.51                       0.45                        20.83
                           SO3              19.40                       3.27                       0.42                        23.10
                           SO4              18.28                       3.37                       0.30                        21.95
  Hybrid       SO7         SO5              22.42                       4.04                       0.56                        27.02
   2023
                           SO6              22.07                       4.33                       0.56                        26.96
 (Case4c
                           SO7              25.43                       4.58                       0.63                        30.64
  2020,
                           SO3              23.66                       3.61                       0.44                        27.70
  Case1
  2023)                    SO4              22.82                       4.05                       0.35                        27.22
                           SO5              26.19                       4.65                       0.63                        31.47
               SO8
                           SO6              26.30                       4.98                       0.63                        31.92
                           SO7              29.70                       5.23                       0.69                        35.62
                           SO8              32.94                       5.37                       0.77                        39.08
                           SO3              31.90                       5.37                       0.67                        37.94
                           SO4              31.36                       5.54                       0.57                        37.47
                           SO5              35.35                       6.23                       0.81                        42.39
               SO9         SO6              36.37                       6.76                       0.85                        43.98
                           SO7              39.70                       6.98                       0.90                        47.59
                           SO8              43.42                       7.09                       0.96                        51.47
                           SO9              34.38                       7.86                       1.79                        44.03
              SO10         SO3              35.56                       6.23                       0.74                        42.53




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                        SO              Total Cost                                   Air Quality           Net Cost-Benefit
     Case                                                   Climate Benefits
                                         Savings            (2010 U.S. $Billion)      Benefits            Relative to Baseline
               Case4c        Case1   (2010 U.S. $Billion)                          (2010 U.S. $Billion)     (2010 U.S. $Billion)
                              SO4          36.66                   6.48                   0.66                    43.79
                              SO5          41.92                   7.13                   0.87                    49.92
                              SO6          43.80                   7.78                   0.92                    52.50
                             SO72          47.27                   8.11                   0.99                    56.37
                              SO8          50.99                   8.16                   1.04                    60.19
                              SO9          41.95                   8.93                   1.88                    52.76
                 SO3          SO3           7.70                   1.30                   0.18                     9.18
                              SO3           8.37                   1.40                   0.18                     9.96
                 SO4
                              SO4           6.89                   1.41                   0.07                     8.37
                              SO3           9.86                   1.73                   0.22                    11.81
                 SO5
                              SO4           8.54                   1.76                   0.11                    10.42
                              SO5          11.88                   2.31                   0.34                    14.53
                              SO3          13.62                   2.37                   0.30                    16.29
                              SO4          12.46                   2.43                   0.20                    15.09
                 SO6
                              SO5          16.18                   2.98                   0.42                    19.59
                              SO6          15.15                   3.19                   0.43                    18.77
                              SO3          17.62                   3.11                   0.40                    21.13
                              SO4          16.62                   3.19                   0.31                    20.11
                 SO7          SO5          19.68                   3.74                   0.52                    23.94
                              SO6          19.06                   4.00                   0.54                    23.60
                              SO7          21.81                   4.21                   0.59                    26.62
     Hybrid                   SO3          20.56                   3.74                   0.48                    24.78
      2025
                              SO4          19.69                   3.84                   0.39                    23.92
    (Case4c
                              SO5          23.34                   4.42                   0.61                    28.36
     2020,       SO8
                              SO6          23.08                   4.72                   0.63                    28.43
     Case1
     2025)                    SO7          25.85                   4.91                   0.67                    31.43
                              SO8          29.02                   5.00                   0.72                    34.74
                              SO3          30.10                   5.22                   0.65                    35.97
                              SO4          29.56                   5.37                   0.58                    35.50
                              SO5          33.44                   5.96                   0.78                    40.18
                 SO9          SO6          34.03                   6.42                   0.82                    41.27
                              SO7          36.83                   6.61                   0.86                    44.31
                              SO8          40.00                   6.71                   0.91                    47.61
                              SO9          31.44                   7.35                   1.59                    40.38
                              SO3          35.17                   6.10                   0.72                    41.99
                              SO4          34.87                   6.31                   0.66                    41.84
                              SO5          38.95                   6.94                   0.86                    46.74
                 SO10         SO6          40.25                   7.50                   0.91                    48.66
                              SO7          43.06                   7.70                   0.95                    51.71
                              SO8          46.23                   7.79                   1.00                    55.01
                              SO9          37.67                   8.44                   1.68                    47.79




2
    Subsequent to generating the climate and air quality results for the Hybrid2023 C4CSO10-C1SO7 scenario, the APMT-I inputs
    were remodeled by APMT-E and AEDT to correct a transitioning error. Thus, these results are based on inputs that are 1.07
    Megatonne higher than the revised APMT-E/AEDT results, which is 0.3% of the change from the baseline values.




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3.2                Total Environmental Benefit Results

The following figure and tables show only the environmental impacts portions of the CBA. In this section,
results are again given for the midrange lens and mid VSL value and are monetized under a 3% discount
rate. Figure 2 shows a summary of the results for all cases for which all environmental impacts (climate
and air quality) were analyzed. Table 4, Table 5, and Table 6 show the show the underlying data for Figure
2 in tabulated form.

Maximum environmental benefits are attained for each framework case at the most stringent scenario. The
overall maximum benefit of just over $11 billion (in 2010 USD) is attained for Case1 2020 SO9.




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                                                                               Better




  Figure 2: Summary of Total Environmental Benefits for All Scenarios Relative to Baseline Using
                             Midrange Lens and 3% Discount Rate




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 Table 4: Summary of Environmental Benefits for Case1 Relative to Baseline Using Midrange Lens
                                   and 3% Discount Rate

                                                          Air Quality          Total Environmental
                                 Climate Benefits
                   Case    SO    (2010 U.S. $Billion)      Benefits                   Benefit
                                                        (2010 U.S. $Billion)     (2010 U.S. $Billion)
                                  mean      10-90%      mean      10-90%        mean         10-90%
                                              0.01                 0.00                        0.01
                           SO1    0.02                   0.01                    0.03
                                              0.04                 0.01                        0.05
                                              0.03                 0.01                        0.04
                           SO2    0.08                   0.02                    0.09
                                              0.13                 0.02                        0.15
                                              0.76                 0.14                        0.90
                           SO3    1.85                   0.23                    2.08
                                              3.11                 0.33                        3.44
                                              0.82                 0.02                        0.84
                           SO4    2.00                   0.04                    2.04
                                              3.37                 0.07                        3.44
                                              1.30                 0.26                        1.56
              Case1 2020   SO5    3.16                   0.43                    3.59
                                              5.31                 0.61                        5.92
                                              1.75                 0.32                        2.07
                           SO6    4.26                   0.53                    4.80
                                              7.16                 0.75                        7.92
                                              2.23                 0.43                        2.66
                           SO7    5.44                   0.72                    6.16
                                              9.14                 1.01                       10.15
                                              2.57                 0.53                        3.10
                           SO8    6.28                   0.87                    7.14
                                             10.54                 1.22                       11.76
                                              3.67                 1.27                        4.94
                           SO9    8.94                   2.10                   11.04
                                             15.02                 2.98                       18.00
                                              0.01                 0.00                        0.01
                           SO1    0.02                   0.00                    0.02
                                              0.03                 0.01                        0.04
                                              0.03                 0.01                        0.03
                           SO2    0.06                   0.01                    0.07
                                              0.10                 0.02                        0.12
                                              0.57                 0.10                        0.67
                           SO3    1.37                   0.16                    1.53
                                              2.31                 0.23                        2.54
                                              0.61                 0.01                        0.62
                           SO4    1.46                   0.03                    1.49
                                              2.45                 0.05                        2.50
                                              0.99                 0.19                        1.17
              Case1 2023   SO5    2.36                   0.31                    2.67
                                              3.96                 0.44                        4.39
                                              1.32                 0.22                        1.55
                           SO6    3.16                   0.37                    3.53
                                              5.32                 0.52                        5.84
                                              1.71                 0.31                        2.02
                           SO7    4.09                   0.51                    4.60
                                              6.87                 0.73                        7.59
                                              2.00                 0.38                        2.39
                           SO8    4.79                   0.63                    5.42
                                              8.06                 0.89                        8.95
                                              2.92                 0.93                        3.86
                           SO9    7.00                   1.55                    8.54
                                             11.73                 2.19                       13.92




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 Table 5: Summary of Environmental Benefits for Case4c Relative to Baseline Using Midrange Lens
                                   and 3% Discount Rate

                                                                         Air Quality          Total Environmental
                                              Climate Benefits
                   Case            SO         (2010 U.S. $Billion)        Benefits                   Benefit
                                                                       (2010 U.S. $Billion)     (2010 U.S. $Billion)
                                              mean       10-90%        mean      10-90%         mean        10-90%
                                                          0.02                    0.01                       0.03
                                SO2            0.06                    0.01                     0.07
                                                          0.09                    0.02                       0.11
                                                          0.09                    0.02                       0.12
                                SO3            0.23                    0.04                     0.27
                                                          0.39                    0.06                       0.44
                                                          0.13                    0.03                       0.17
                                SO4            0.33                    0.05                     0.39
                                                          0.56                    0.08                       0.63
                                                          0.27                    0.06                       0.32
                                SO5            0.66                    0.09                     0.75
                                                          1.10                    0.13                       1.23
                                                          0.53                    0.10                       0.63
              Case4c 2020       SO6            1.31                    0.17                     1.47
                                                          2.19                    0.24                       2.43
                                                          0.83                    0.16                       0.99
                                SO7            2.04                    0.27                     2.30
                                                          3.42                    0.37                       3.80
                                                          1.08                    0.21                       1.29
                                SO8            2.67                    0.34                     3.01
                                                          4.48                    0.48                       4.96
                                                          1.68                    0.31                       1.99
                                SO9            4.15                    0.51                     4.66
                                                          6.97                    0.71                       7.68
                                                          2.02                    0.35                       2.37
                               SO10            4.98                    0.57                     5.55
                                                          8.37                    0.80                       9.17


Table 6: Summary of Environmental Benefits for Hybrid Cases Relative to Baseline Using Midrange
                                Lens and 3% Discount Rate

                                                                           Air Quality          Total Environmental
                                   SO          Climate Benefits
              Case                              (2010 U.S. $Billion)        Benefits                   Benefit
                                                                         (2010 U.S. $Billion)      (2010 U.S. $Billion)
                            Case4c Case1        mean       10-90%        mean      10-90%         mean         10-90%
                                                            0.61                    0.12                        0.72
                             SO3        SO3      1.49                     0.19                    1.68
                                                            2.53                    0.27                        2.80
                                                            0.65                    0.12                        0.78
                                        SO3      1.59                     0.20                    1.79
                                                            2.71                    0.29                        3.00
                             SO4
                                                            0.65                    0.03                        0.68
                                        SO4      1.59                     0.05                    1.64
                                                            2.72                    0.07                        2.79
                                                            0.78                    0.15                        0.93
                                        SO3      1.91                     0.24                    2.15
                                                            3.26                    0.34                        3.60
           Hybrid 2023
                                                            0.80                    0.06                        0.85
          (Case4c 2020,      SO5        SO4      1.95                     0.10                    2.04
                                                            3.32                    0.14                        3.46
           Case1 2023)
                                                            1.04                    0.21                        1.25
                                        SO5      2.54                     0.35                    2.89
                                                            4.31                    0.50                        4.81
                                                            1.04                    0.19                        1.23
                                        SO3      2.54                     0.32                    2.86
                                                            4.32                    0.45                        4.77
                                                            1.07                    0.11                        1.18
                             SO6        SO4      2.61                     0.18                    2.79
                                                            4.44                    0.26                        4.70
                                                            1.33                    0.27                        1.60
                                        SO5      3.25                     0.45                    3.70
                                                            5.51                    0.63                        6.14




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                                                                 Air Quality          Total Environmental
                            SO          Climate Benefits
              Case                      (2010 U.S. $Billion)      Benefits                   Benefit
                                                               (2010 U.S. $Billion)     (2010 U.S. $Billion)
                     Case4c Case1        mean      10-90%      mean      10-90%        mean         10-90%
                                                     1.44                 0.27                        1.71
                                 SO6     3.51                   0.45                    3.95
                                                     5.98                 0.64                        6.61
                                                     1.34                 0.26                        1.60
                                 SO3     3.27                   0.42                    3.70
                                                     5.57                 0.60                        6.16
                                                     1.38                 0.18                        1.56
                                 SO4     3.37                   0.30                    3.66
                                                     5.74                 0.41                        6.16
                                                     1.65                 0.34                        1.99
                      SO7        SO5     4.04                   0.56                    4.59
                                                     6.84                 0.79                        7.63
                                                     1.77                 0.34                        2.11
                                 SO6     4.33                   0.56                    4.89
                                                     7.36                 0.79                        8.16
                                                     1.88                 0.38                        2.26
                                 SO7     4.58                   0.63                    5.21
                                                     7.80                 0.88                        8.68
                                                     1.48                 0.27                        1.74
                                 SO3     3.61                   0.44                    4.05
                                                     6.14                 0.62                        6.75
                                                     1.66                 0.21                        1.87
                                 SO4     4.05                   0.35                    4.40
                                                     6.89                 0.50                        7.39
                                                     1.91                 0.38                        2.29
                                 SO5     4.65                   0.63                    5.28
                                                     7.89                 0.89                        8.77
                      SO8
                                                     2.04                 0.38                        2.42
                                 SO6     4.98                   0.63                    5.61
                                                     8.47                 0.89                        9.37
                                                     2.14                 0.42                        2.56
                                 SO7     5.23                   0.69                    5.92
                                                     8.89                 0.98                        9.87
                                                     2.20                 0.47                        2.67
                                 SO8     5.37                   0.77                    6.14
                                                     9.14                 1.08                       10.21
                                                     2.20                 0.41                        2.61
                                 SO3     5.37                   0.67                    6.04
                                                     9.10                 0.95                       10.05
                                                     2.27                 0.35                        2.62
                                 SO4     5.54                   0.57                    6.12
                                                     9.43                 0.80                       10.23
                                                     2.55                 0.49                        3.04
                                 SO5     6.23                   0.81                    7.04
                                                    10.55                 1.15                       11.70
                                                     2.77                 0.52                        3.29
                      SO9        SO6     6.76                   0.85                    7.62
                                                    11.48                 1.20                       12.68
                                                     2.86                 0.55                        3.41
                                 SO7     6.98                   0.90                    7.88
                                                    11.85                 1.28                       13.12
                                                     2.91                 0.58                        3.49
                                 SO8     7.09                   0.96                    8.05
                                                    12.03                 1.35                       13.38
                                                     3.22                 1.09                        4.31
                                 SO9     7.86                   1.79                    9.65
                                                    13.32                 2.54                       15.86
                                                     2.56                 0.45                        3.00
                                 SO3     6.23                   0.74                    6.96
                                                    10.56                 1.04                       11.59
                                                     2.66                 0.40                        3.06
                                 SO4     6.48                   0.66                    7.13
                                                    11.00                 0.92                       11.92
                                                     2.92                 0.52                        3.45
                     SO10        SO5     7.13                   0.87                    8.00
                                                    12.09                 1.22                       13.31
                                                     3.19                 0.56                        3.75
                                 SO6     7.78                   0.92                    8.70
                                                    13.20                 1.30                       14.50
                                                     3.33                 0.60                        3.93
                                 SO72    8.11                   0.99                    9.10
                                                    13.76                 1.39                       15.16




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                                                                     Air Quality          Total Environmental
                                 SO         Climate Benefits
              Case                          (2010 U.S. $Billion)      Benefits                   Benefit
                                                                   (2010 U.S. $Billion)     (2010 U.S. $Billion)
                          Case4c Case1       mean      10-90%      mean      10-90%        mean         10-90%
                                                         3.35                 0.63                        3.98
                                      SO8    8.16                   1.04                    9.20
                                                        13.84                 1.46                       15.31
                                                         3.66                 1.14                        4.80
                                      SO9    8.93                   1.88                   10.81
                                                        15.14                 2.66                       17.80
                                                         0.53                 0.11                        0.64
                           SO3        SO3    1.30                   0.18                    1.48
                                                         2.19                 0.26                        2.45
                                                         0.57                 0.11                        0.68
                                      SO3    1.40                   0.18                    1.59
                                                         2.36                 0.26                        2.62
                           SO4
                                                         0.57                 0.04                        0.61
                                      SO4    1.41                   0.07                    1.48
                                                         2.38                 0.09                        2.47
                                                         0.70                 0.13                        0.83
                                      SO3    1.73                   0.22                    1.95
                                                         2.91                 0.31                        3.22
                           SO5                           0.71                 0.07                        0.78
                                      SO4    1.76                   0.11                    1.87
                                                         2.97                 0.16                        3.12
                                                         0.93                 0.21                        1.14
                                      SO5    2.31                   0.34                    2.65
                                                         3.89                 0.49                        4.38
                                                         0.96                 0.18                        1.14
                                      SO3    2.37                   0.30                    2.67
                                                         3.99                 0.42                        4.41
                                                         0.98                 0.12                        1.10
                                      SO4    2.43                   0.20                    2.63
                                                         4.09                 0.28                        4.36
                           SO6
                                                         1.21                 0.25                        1.46
                                      SO5    2.98                   0.42                    3.40
                                                         5.02                 0.60                        5.62
                                                         1.29                 0.26                        1.55
                                      SO6    3.19                   0.43                    3.62
                                                         5.37                 0.60                        5.97
                                                         1.26                 0.24                        1.50
           Hybrid 2025                SO3    3.11                   0.40                    3.51
                                                         5.23                 0.57                        5.79
          (Case4c 2020,
                                                         1.29                 0.19                        1.48
           Case1 2025)                SO4    3.19                   0.31                    3.49
                                                         5.36                 0.43                        5.79
                                                         1.52                 0.32                        1.83
                           SO7        SO5    3.74                   0.52                    4.27
                                                         6.30                 0.74                        7.05
                                                         1.62                 0.32                        1.95
                                      SO6    4.00                   0.54                    4.54
                                                         6.74                 0.76                        7.50
                                                         1.71                 0.36                        2.06
                                      SO7    4.21                   0.59                    4.80
                                                         7.09                 0.83                        7.92
                                                         1.52                 0.29                        1.81
                                      SO3    3.74                   0.48                    4.22
                                                         6.29                 0.68                        6.97
                                                         1.56                 0.24                        1.79
                                      SO4    3.84                   0.39                    4.23
                                                         6.46                 0.55                        7.01
                                                         1.79                 0.37                        2.16
                                      SO5    4.42                   0.61                    5.03
                                                         7.44                 0.86                        8.30
                           SO8
                                                         1.91                 0.38                        2.29
                                      SO6    4.72                   0.63                    5.35
                                                         7.96                 0.88                        8.84
                                                         1.99                 0.41                        2.39
                                      SO7    4.91                   0.67                    5.58
                                                         8.26                 0.95                        9.21
                                                         2.03                 0.44                        2.46
                                      SO8    5.00                   0.72                    5.72
                                                         8.42                 1.01                        9.43
                                                         2.12                 0.40                        2.51
                           SO9        SO3    5.22                   0.65                    5.87
                                                         8.79                 0.91                        9.70




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                                                             Air Quality          Total Environmental
                         SO         Climate Benefits
              Case                  (2010 U.S. $Billion)      Benefits                   Benefit
                                                           (2010 U.S. $Billion)     (2010 U.S. $Billion)
                     Case4c Case1    mean      10-90%      mean      10-90%        mean         10-90%
                                                 2.18                 0.35                        2.53
                              SO4    5.37                   0.58                    5.94
                                                 9.04                 0.81                        9.85
                                                 2.41                 0.47                        2.89
                              SO5    5.96                   0.78                    6.75
                                                10.04                 1.11                       11.15
                                                 2.61                 0.49                        3.10
                              SO6    6.42                   0.82                    7.24
                                                10.82                 1.16                       11.97
                                                 2.68                 0.52                        3.20
                              SO7    6.61                   0.86                    7.48
                                                11.14                 1.22                       12.36
                                                 2.72                 0.55                        3.27
                              SO8    6.71                   0.91                    7.62
                                                11.30                 1.28                       12.57
                                                 2.98                 0.96                        3.94
                              SO9    7.35                   1.59                    8.95
                                                12.39                 2.26                       14.65
                                                 2.47                 0.44                        2.91
                              SO3    6.10                   0.72                    6.82
                                                10.27                 1.01                       11.29
                                                 2.56                 0.40                        2.96
                              SO4    6.31                   0.66                    6.97
                                                10.62                 0.93                       11.55
                                                 2.81                 0.52                        3.33
                              SO5    6.94                   0.86                    7.80
                                                11.68                 1.22                       12.90
                                                 3.04                 0.55                        3.59
                     SO10     SO6    7.50                   0.91                    8.41
                                                12.64                 1.28                       13.92
                                                 3.12                 0.58                        3.70
                              SO7    7.70                   0.95                    8.65
                                                12.97                 1.35                       14.31
                                                 3.16                 0.61                        3.77
                              SO8    7.79                   1.00                    8.79
                                                13.12                 1.40                       14.52
                                                 3.41                 1.02                        4.43
                              SO9    8.44                   1.68                   10.12
                                                14.21                 2.38                       16.60




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4. RESULTS BY IMPACT TYPE

This section presents monetized results for the environmental domains of climate and air quality.

4.1                Climate

The following figures show the climate benefits of the various scenarios under consideration by CAEP. All
figures here are for a midrange lens (defined in CAEP/10-IP/24, Appendix A, Section 4.4) and a 3%
discount rate. The heights of the bars represent the mean results, and the error bars represent the 10th and
90th percentile Monte Carlo results. The figures show increasing benefits associated with higher SOs across
all scenarios. Since the proposed CO2 SOs are designed to reduce climate impacts, this is also the expected
trend. Figure 3 shows a summary of the data for all scenarios. Figure 4 shows the results for Case1 2020,
2023, 2025, and 2028; Figure 5 shows the results for Case4c 2020 and 2023; Figure 6 shows the results for
Hybrid 2023; and Figure 7 shows the results for Hybrid 2025. For non-GHG climate forcers, reducing
emissions only in the United States could accentuate the non-linearities and inhomogeneities discussed in
[CAEP/10-IP/24, Appendix A, Section 2.1.1].




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 Figure 3: Summary of Climate Benefits for All Scenarios Relative to Baseline Using Midrange Lens
                                     and 3% Discount Rate




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  Figure 4: Climate Benefits for Case1 Relative to Baseline Using Midrange Lens and 3% Discount
                                                Rate




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 Figure 5: Climate Benefits for Case4c Relative to Baseline Using Midrange Lens and 3% Discount
                                               Rate




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   Figure 6: Climate Benefits for Hybrid 2023 Relative to Baseline Using Midrange Lens and 3%
                                          Discount Rate




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      Figure 7: Climate Benefits for Hybrid 2025 Relative to Baseline Using Midrange Lens and 3%
                                             Discount Rate

4.2                Air Quality

The following figures show the monetized air quality impacts of the various scenarios under consideration
by CAEP. All figures here are for the mid VSL (defined in CAEP/10-IP/24, Appendix A, Section 4.4) and
a 3% discount rate. The heights of the bars represent the mean results, and the error bars represent the 10th
and 90th percentile Monte Carlo results. Figure 8 shows a summary of the data for all scenarios. Figure 9




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shows the results for Case1 2020 and 2023; Figure 10 shows the results for Case4c 2020; Figure 11 shows
the results for Hybrid 2023; and Figure 12 shows the results for Hybrid 2025.




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 Figure 8: Summary of Air Quality Benefits for All Scenarios Relative to Baseline Using Midrange
                                  VSL and 3% Discount Rate




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Figure 9: Air Quality Benefits for Case1 Relative to Baseline Using Midrange VSL and 3% Discount
                                                Rate




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    Figure 10: Air Quality Benefits for Case4c Relative to Baseline Using Midrange VSL and 3%
                                           Discount Rate




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 Figure 11: Air Quality Benefits for Hybrid 2023 Relative to Baseline Using Midrange VSL and 3%
                                           Discount Rate




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 Figure 12: Air Quality Benefits for Hybrid 2025 Relative to Baseline Using Midrange VSL and 3%
                                           Discount Rate




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5. CLIMATE BENEFITS COMPUTED USING UNITED STATES GOVERNMENT (USG)
      SOCIAL COST OF CARBON (SCC) METHOD

This‎ section‎ presents‎ monetized‎ climate‎ benefits‎ computed‎ using‎ the‎ USG’s‎ SCC‎ method.‎ In‎ this‎ method,‎
the CO2 saved is monetized by applying four discrete SCC values, as detailed in CAEP/10-IP/24, Appendix
A, Section 2.1.1. The results of this analysis are shown in Figure 13 and Table 7-Table 9 below.

Figure 13 includes results from the APMT-I climate analysis in addition to the results from the four SCC
values, to allow for comparison of the SCC results to the APMT-I climate benefits included in the CBA
presented in Section ‎3.1.

The trends between the climate benefits of different scenarios as calculated with the SCC values are the
same as the trends using APMT-I. The results from the APMT-I Climate Model using a midrange lens and
3% discount rate are similar to those from the 2.5% discount rate SCC analysis.




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Figure 13: Summary of Climate Benefits for All Scenarios Relative to Baseline Using SCC 2.5%, 3%,
   and 5% Discount Rates, SCC 95th Percentile, and APMT-I Midrange Lens (with a 3% Discount
                                              Rate)




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        Table 7: Summary of SCC-Calculated Climate Impacts for Case1 Relative to Baseline

                           2.5% Discount           3% Discount            5% Discount
        Case       SO                                                                           95th Percentile
                               Rate                   Rate                   Rate               (2010 U.S. $Billion)
                           (2010 U.S. $Billion)   (2010 U.S. $Billion)   (2010 U.S. $Billion)
                   SO1           0.022                  0.014                  0.003                  0.042
                   SO2           0.074                  0.046                  0.010                  0.140
                   SO3           1.814                  1.130                  0.235                  3.430
                   SO4           1.985                  1.237                  0.258                  3.754
        Case1
                   SO5           3.039                  1.893                  0.394                  5.746
        2020
                   SO6           4.164                  2.594                  0.540                  7.874
                   SO7           5.300                  3.301                  0.687                 10.022
                   SO8           6.100                  3.800                  0.791                 11.536
                   SO9           8.610                  5.363                  1.116                 16.282
                   SO1           0.017                  0.011                  0.002                  0.033
                   SO2           0.058                  0.036                  0.007                  0.110
                   SO3           1.337                  0.832                  0.172                  2.527
                   SO4           1.439                  0.895                  0.185                  2.720
        Case1
                   SO5           2.242                  1.395                  0.288                  4.239
        2023
                   SO6           3.064                  1.906                  0.394                  5.794
                   SO7           3.945                  2.454                  0.506                  7.458
                   SO8           4.616                  2.872                  0.593                  8.728
                   SO9           6.677                  4.153                  0.857                 12.623
                   SO1           0.014                  0.008                  0.002                  0.026
                   SO2           0.047                  0.029                  0.006                  0.089
                   SO3           1.059                  0.658                  0.135                  2.002
                   SO4           1.148                  0.713                  0.146                  2.170
        Case1
                   SO5           1.805                  1.121                  0.230                  3.412
        2025
                   SO6           2.484                  1.543                  0.316                  4.695
                   SO7           3.224                  2.003                  0.411                  6.095
                   SO8           3.773                  2.345                  0.481                  7.133
                   SO9           5.508                  3.422                  0.702                 10.411
                   SO1           0.009                  0.005                  0.001                  0.016
                   SO2           0.032                  0.020                  0.004                  0.060
                   SO3           0.718                  0.446                  0.091                  1.358
                   SO4           0.785                  0.487                  0.099                  1.484
        Case1
                   SO5           1.240                  0.769                  0.156                  2.344
        2028
                   SO6           1.737                  1.078                  0.219                  3.284
                   SO7           2.282                  1.416                  0.288                  4.315
                   SO8           2.683                  1.665                  0.338                  5.073
                   SO9           3.907                  2.424                  0.492                  7.387




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       Table 8: Summary of SCC-Calculated Climate Impacts for Case4c Relative to Baseline

                                      2.5% Discount             3% Discount              5% Discount
         Case            SO                                                                                      95th Percentile
                                          Rate                     Rate                     Rate                 (2010 U.S. $Billion)
                                      (2010 U.S. $Billion)     (2010 U.S. $Billion)     (2010 U.S. $Billion)
                         SO2                0.056                    0.035                    0.007                    0.106
                         SO3                0.229                    0.143                    0.030                    0.433
                         SO4                0.329                    0.205                    0.043                    0.623
                         SO5                0.655                    0.408                    0.085                    1.238
        Case4c
                         SO6                1.295                    0.807                    0.168                    2.448
         2020
                         SO7                2.018                    1.258                    0.262                    3.817
                         SO8                2.641                    1.645                    0.343                    4.994
                         SO9                4.103                    2.556                    0.533                    7.759
                         SO10               4.917                    3.064                    0.638                    9.299
                         SO2                0.043                    0.027                    0.005                    0.081
                         SO3                0.179                    0.111                    0.023                    0.338
                         SO4                0.255                    0.159                    0.033                    0.482
                         SO5                0.504                    0.313                    0.065                    0.952
        Case4c
                         SO6                1.008                    0.627                    0.129                    1.905
         2023
                         SO7                1.576                    0.981                    0.202                    2.980
                         SO8                2.069                    1.287                    0.265                    3.911
                         SO9                3.232                    2.010                    0.415                    6.110
                         SO10               3.884                    2.416                    0.498                    7.342


    Table 9: Summary of SCC-Calculated Climate Impacts for Hybrid Cases Relative to Baseline

                         SO             2.5% Discount              3% Discount              5% Discount
     Case                                                                                                            95th Percentile
                                            Rate                      Rate                     Rate                  (2010 U.S. $Billion)
                Case4c        Case1     (2010 U.S. $Billion)     (2010 U.S. $Billion)     (2010 U.S. $Billion)
                 SO3           SO3             1.471                    0.916                    0.191                    2.782
                               SO3             1.572                    0.979                    0.204                    2.972
                   SO4
                               SO4             1.598                    0.995                    0.207                    3.022
                               SO3             1.892                    1.179                    0.245                    3.578
                   SO5         SO4             1.948                    1.213                    0.252                    3.683
                               SO5             2.470                    1.538                    0.320                    4.670
                               SO3             2.511                    1.564                    0.326                    4.749
                               SO4             2.602                    1.621                    0.337                    4.921
                   SO6
     Hybrid                    SO5             3.164                    1.970                    0.410                    5.983
      2023                     SO6             3.464                    2.158                    0.449                    6.551
    (Case4c                    SO3             3.241                    2.019                    0.420                    6.129
     2020,                     SO4             3.352                    2.088                    0.435                    6.339
     Case1         SO7         SO5             3.940                    2.454                    0.511                    7.451
     2023)                     SO6             4.273                    2.661                    0.554                    8.080
                               SO7             4.520                    2.815                    0.585                    8.547
                               SO3             3.571                    2.224                    0.463                    6.753
                               SO4             4.017                    2.502                    0.521                    7.596
                               SO5             4.546                    2.832                    0.589                    8.598
                   SO8
                               SO6             4.914                    3.061                    0.637                    9.292
                               SO7             5.151                    3.208                    0.667                    9.741
                               SO8             5.293                    3.297                    0.686                    10.009
                   SO9         SO3             5.309                    3.307                    0.689                    10.039




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                         SO            2.5% Discount           3% Discount            5% Discount
     Case                                                                                                   95th Percentile
                                           Rate                   Rate                   Rate               (2010 U.S. $Billion)
              Case4c          Case1    (2010 U.S. $Billion)   (2010 U.S. $Billion)   (2010 U.S. $Billion)
                               SO4           5.499                   3.426                 0.713                 10.400
                               SO5           6.102                   3.801                 0.791                 11.540
                               SO6           6.668                   4.153                 0.864                 12.609
                               SO7           6.878                   4.284                 0.891                 13.007
                               SO8           6.986                   4.351                 0.905                 13.211
                               SO9           7.685                   4.787                 0.996                 14.532
                               SO3           6.146                   3.829                 0.797                 11.622
                               SO4           6.407                   3.992                 0.831                 12.117
                               SO5           6.986                   4.352                 0.906                 13.211
               SO10            SO6           7.659                   4.770                 0.992                 14.483
                              SO72           7.976                   4.968                 1.033                 15.083
                               SO8           8.022                   4.996                 1.039                 15.170
                               SO9           8.726                   5.435                 1.130                 16.501
                   SO3         SO3           1.272                   0.792                 0.164                 2.406
                               SO3           1.374                   0.856                 0.178                 2.598
                   SO4
                               SO4           1.401                   0.872                 0.181                 2.649
                               SO3           1.694                   1.055                 0.219                 3.204
                   SO5
                               SO4           1.745                   1.087                 0.226                 3.299
                               SO5           2.219                   1.382                 0.287                 4.196
                               SO3           2.326                   1.449                 0.301                 4.398
                               SO4           2.399                   1.494                 0.311                 4.536
                   SO6
                               SO5           2.875                   1.791                 0.372                 5.437
                               SO6           3.125                   1.946                 0.404                 5.910
                               SO3           3.046                   1.898                 0.395                 5.761
                               SO4           3.141                   1.957                 0.407                 5.941
                   SO7         SO5           3.622                   2.256                 0.469                 6.850
                               SO6           3.918                   2.440                 0.507                 7.410
                               SO7           4.120                   2.565                 0.533                 7.790
     Hybrid                    SO3           3.665                   2.283                 0.475                 6.930
      2025
                               SO4           3.779                   2.354                 0.490                 7.145
    (Case4c
                               SO5           4.286                   2.669                 0.555                 8.104
     2020,         SO8
                               SO6           4.623                   2.879                 0.598                 8.742
     Case1
     2025)                     SO7           4.799                   2.988                 0.621                 9.074
                               SO8           4.888                   3.044                 0.632                 9.243
                               SO3           5.117                   3.187                 0.664                 9.676
                               SO4           5.276                   3.287                 0.684                 9.977
                               SO5           5.795                   3.610                 0.751                 10.959
                   SO9         SO6           6.279                   3.911                 0.813                 11.873
                               SO7           6.460                   4.023                 0.836                 12.216
                               SO8           6.551                   4.080                 0.848                 12.388
                               SO9           7.135                   4.444                 0.924                 13.493
                               SO3           5.971                   3.720                 0.774                 11.292
                               SO4           6.184                   3.852                 0.802                 11.694
                               SO5           6.738                   4.197                 0.873                 12.742
               SO10            SO6           7.318                   4.558                 0.948                 13.838
                               SO7           7.507                   4.675                 0.972                 14.196
                               SO8           7.594                   4.730                 0.983                 14.361
                               SO9           8.183                   5.096                 1.059                 15.474




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6. SENSITIVITY TO MAJOR ASSUMPTIONS

This section contains United States-only results, with limited explanations of those results. For additional
background on the results and plots included here, see CAEP/10-IP/24, Appendix A, Section 8.

6.1                Environmental Discount Rate Analysis

For this sensitivity analysis, the discount rate was only changed for environmental impacts results. See
CAEP/10-IP/24, Appendix A, Section 8.1 for additional information.

Figure 14 shows the results of a discount rate sensitivity test for APMT-I Climate impacts using discount
rates of 2%, 3%, and 7% for one framework case. As mentioned in CAEP/10-IP/24, Appendix A, Section
4.4, although these are not the discount rates recommended by a United States interagency working group
(IWG) (see CAEP/10-IP/24, Appendix A, Section 2.1.1), the analyzed discount rates span the IWG
recommendation and results with respect to any intermediate discount rates (including the IWG-
recommended values) can be approximated through interpolation. The low discount rate shows a ~80%
increase in benefits on average relative to the mid discount rate, and the high discount rate shows a ~75%
decrease on average relative to the mid discount rate. The percentage changes are almost identical to those
seen in the corresponding global sensitivity analysis.




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  Figure 14: Discount Rate Sensitivity: Climate Benefits for Case1 2023 Relative to Baseline Using
                                           Midrange Lens

Figure 15 shows the results of a discount rate sensitivity test for air quality impacts using discount rates of
2%, 3%, and 7% for one framework case. As expected, the low discount rate shows a ~25% increase in
benefits relative the mid discount rate, and the high discount rate shows a ~60% decrease relative to the
mid discount rate. These percentage changes are within a few percent of the changes seen in the
corresponding global sensitivity analysis.




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 Figure 15: Discount Rate Sensitivity: Air Quality Benefits for Case1 2023 Relative to Baseline Using
                                           Midrange VSL

Figure 16 shows the sensitivity of the net cost-benefit to environmental discount rate. For the Case1 2023
example shown below, almost all SOs show the same trend regardless of discount rate assumption, with the
exception of the high discount rate for SO9, which shows results nearly identical to those for SO8.




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  Figure 16: Discount Rate Sensitivity: Net Cost-Benefit for Case1 2023 Relative to Baseline Using
                 Midrange Environmental Lens and 0% Total Cost Discount Rate

6.2                Lens Analysis

Figure 17 shows the climate impacts under different lens assumptions. As can be seen in this graph, the
climate model shows significant changes based on what lens assumptions are used. The low lens shows a
more than 95% decrease in benefits relative to the mid lens in all cases, and the high lens shows ~2.4 times
greater benefits than the mid lens. The percentage changes are within a few percent of the changes seen in
the corresponding global sensitivity analysis.




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Figure 17: Lens Sensitivity: Climate Benefits for Case1 2023 Relative to Baseline Using 3% Discount
                                                Rate

Figure 18 shows the impact of the low, mid, and high VSL assumptions on air quality results. The low
VSL shows a ~45% decrease in benefits relative to the mid VSL, and the high VSL shows ~40% greater
benefits than the mid VSL. These percentage changes are identical to the changes seen in the global
sensitivity analysis.




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   Figure 18: VSL Sensitivity: Air Quality Benefits for Case1 2023 Relative to Baseline Using 3%
                                           Discount Rate

Figure 19 shows the sensitivity of cost-benefit results to climate lens assumptions and air quality VSL
assumption. Almost all SOs show the same trend regardless of lens assumption, with the exception of the
low lens for SO9, which shows a slight decrease relative to SO8. These are the same trends seen in the
corresponding global sensitivity analysis.




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     Figure 19: Lens Sensitivity: Net Cost-Benefit for Case1 2023 Relative to Baseline Using 3%
                  Environmental Discount Rate and 0% Total Cost Discount Rate




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